Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 1 of 80 Page ID #:1



 1   Dean Gazzo Roistacher LLP
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 2   440 Stevens Avenue, Suite 100
     Solana Beach, CA 92075
 3   Telephone: (858) 380-4683
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 4   E-mail: snoya@deangazzo.com
 5
 6   Attorneys for Defendant
     Foothill Transit
 7   (erroneously sued as “Foothill Transit Agency”)
 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10   GABRIELA CABRERA,                       Case No.:
11                Plaintiff,                 NOTICE OF REMOVAL OF
                                             ACTION; UNDER 28 U.S.C. sec.
12         v.                                1441(a) (FEDERAL QUESTION)
13   CITY OF WEST COVINA,                    Trial Date: None set
     FOOTHILL TRANSIT AGENCY,
14   and DOES 1-10, INCLUSIVE,
15                Defendants.
16
17   TO THE CLERK OF THE ABOVE-ENTITLED COURT:
18         PLEASE TAKE NOTICE that defendant Foothill Transit (erroneously
19   sued as “Foothill Transit Agency”) hereby removes to this Court the state court
20   action described below:
21         1.     On December 2, 2021, an action was commenced in the Superior
22   Court of the State of California in the County of Los Angeles, Pomona Courthouse
23   South, entitled Gabriela Cabrera v. City of West Covina, Foothill Transit Agency,
24   and Does 1-10, inclusive, Case No. 21PSCV01003. Attached hereto as Exhibit
25   “A” is the complaint. Attached as Exhibit “B” is a true and correct copy of the
26   filed state court Answer of Defendant Foothill Transit to plaintiff’s Verified
27   Complaint.
28   ///
                                             1
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 1
 2         2.     This action alleges, as its First Cause of Action, violation of the
 3   Americans with Disabilities Act, Title II and 42 U.S.C. § 12131 et seq. against all
 4   defendants. This action also includes as its Second Cause of Action a claim for
 5   violation of Section 504 of the Rehabilitation Act of 1973 pursuant to 29 U.S.C. §
 6   794 against all defendants. This Court has original jurisdiction over such claims
 7   under 29 U.S.C. § 1331 and are claims which may be removed to this Court by
 8   defendant pursuant to the provisions of 28 U.S.C. § 1441(a), in that it arises under
 9   Title II of the ADA and 42 U.S.C. § 12131 et seq. and pursuant to 29 U.S.C. § 794.
10         3.     This action also includes as its Third Cause of Action a state claim
11   for the violation of California Civil Code § 54 against all defendants. This cause
12   of action is related to plaintiff’s First and Second causes of action, such that they
13   form part of the same case or controversy under Article III of the United States
14   Constitution. This Court has supplemental jurisdiction over such claims under 28
15   U.S.C § 1367(a).
16         4.     The City of West Covina and Foothill Transit are the only named
17   defendants in the complaint. Plaintiff has since filed a dismissal of the City of
18   West Covina. The dismissal without prejudice of defendant City of West Covina
19   submitted by plaintiff, and entered by the state court on February 4, 2022, is
20   attached hereto as Exhibit “C.” Because defendant City of West Covina was not
21   served and has now been dismissed from the state court action it has not been
22   requested to consent to this removal.
23         5.     The first date upon which defendant Foothill Transit received a copy
24   of the complaint was January 25, 2022. The case was removed to federal court on
25   February 24, 2022. The filed notice of removal in Case No. 22-cv-01294 is
26   attached as Exhibit “D”. That case was terminated on March 2, 2022 for failing
27   to respond to a February 25, 2022 Notice of Deficiency regarding payment of a
28   filing fee. See ECF Doc. No. 3, Case No. 22-cv-01294. Counsel never received
                                           2
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 1   notice of the deficiency.    Noya Declaration, attached as Exhibit E; Welle
 2   Declaration, attached as Exhibit F. Because the March 2, 2022 notice states
 3   “[s]hould you wish to pursue this action, a new case must be filed and a new case
 4   number issued,” this new action is initiated. This removal is timely because the
 5   action was originally timely removed on February 24, 2022 in Case No. 22-cv-
 6   01294. See United States v. Dae Rim Fishery Co., 794 F.2d 1392, 1395 (9th Cir.
 7   1986) (document filed “when it is placed in the actual or constructive custody of
 8   the clerk, despite any subsequent rejection by him of the pleading for non-
 9   compliance with a provision of the local rules.”); GBJ, Ltd. v. Redman, 521
10   F.Supp.2d 1000, 1000-02 (D. Ariz. 2007) (notice of removal timely filed
11   notwithstanding rejection of document for failing to comply with a local rule).
12
13   Dated: March 18, 2022                        Dean Gazzo Roistacher LLP
14
                                            By: /s/ Scott Noya
15                                               Scott Noya
                                                 Attorneys for Defendant
16
                                                 Foothill Transit (erroneously sued as
17                                               “Foothill Transit Agency”)
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             EXHIBIT “A”
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         I
                                                                                                                                           SUM-100
                                                          SUMMONS                                                                    FOR COURT USE ONLY
                                                                                                                                 (SOLO PARA USO DE LA CORTE)

             .,       \                         (CITACION JUDICIAL)
       NOTICE TO DEFENDANT:
       (AV/SO AL DEMANDADO):
        CITY OF WEST COVINA, FOOTHILL TRANSIT AGENCY, AND
        DOES 1-10, INCLUSIVE
       YOU ARE BEING SUED BY PLAINTIFF:
       (LO ESTA DEMANDANDO EL DEMANDANTE):
        GABRIELA CABRERA

         NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
         below.
            You have 30 CALENDAR DAYS after this summons and legal papers are served on you to fife a written response at this court and have a copy
         served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
         case. There may be a court form that you can use for your response. You can find these court forms and more Information at the California Courts
         Online Self-Help Center (www.courtinfo.ca.gov/setfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
         the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
         may be taken without further warning from the court.
            There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
         referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
         these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
         (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
         costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
         AISO! Lo han demandado. Si no responde dentro de 30 dlas, la corte puode decidir en su contra sin escuchar su version. Lea la informacin a
         continuacidn.
            Tlene 30 DIAS DE CALENDARIQ despu~s de que le entreguen esta citaci~n y papeles legals para presentar una respuesta por escrito en esta
         corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefnica no lo protogen. Su respuesta por escrito tiene quo ostar
         en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta
         Puede encontrar estos forularios de la corte y ms infommacin en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
         biblioteca de leyes de su condado o en la corte que le quede ms cerca. Si no puede pagar la cuota de presentaci~n, pida al secretario de le corte
         que le d~ un formulario de exencin de pago de cuotas. SI no presenta su rspuesta a tiempo, puede perder el caso por icumplimienton             y la corte le
         podr qulter su sueldo, dinero y blenes sin ms advertencia.
           Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servici ode
         remisidn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
         programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de Califomia Legal Services,
         (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poni~ndose en contacto con la corte o el
         colegio de abogados locales. AVISO: Por ley, la corte tlene dorecho a reclamar las cuotas y los costos axentos por imponer un gravamen sobre
         cualquier recuperaci~n de $10,000 ~ ms de valor recibida mediants un acuerdo o una concesi~n de arbitraje en un caso de derecho civil. Tiene que
         pagar el gravamen de la corte antes de que la corte pueda desechar el cas0.
       The name and address of the court is:                                                                         CASE NUMBER:
                                                                                                                     (N~mero de! Caso):
       (El nombre y direcci6n de la corto es):               Pomona Courthouse South
                                                                                                                                          21+9CV01003
        400 Civic Centcr Plaza. Pomona. CA 91766

       The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
       (El nombre, la direcci~n y el numero de tel~fono del abogado del demandante, o del demandante que no tiene abogado, es):
        Dayton Magallanes (SBN 240231); 15786 Sophomore Ct, Moorpark, CA 93021; (310) 779-2348

        DATE:                               Sherri R. Carter Executive officer/ Cerk of Court   Clerk, by                                                        , Deputy
        (Fecha) 12/02/2021                                                 (Secretario)              J. Gonzalez                                                  (Adjunto)
       (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
       (Para prueba de entrega de esta citation use el forulario Proof of Service of Summons, (POS-010)).
                                         NOTICE TO THE PERSON SERVED: You are served
                                         1. CJ as an individual defendant.
                                         2.               D
                                                 as the person sued under the fictitious name of (specify):


                                                     %.   IX]   onsehait or (soeey)        TUit\ Ives)                  e<"\
                                                          under:   D      CCP 416.10 (corporation)                    D
                                                                                                                     CCP 416.60 (minor)
                                                                   Cl     CCP 416.20 (defunct corporation)            []
                                                                                                                     COP 416.70 (conservatee)
                                                                   D      CCP 416.40 (association or partnership) [] cCP 416.90 (authorized person)



         Form Adopted for Mandatory Use
           Judicial Council ot California
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                                                                by personal delivery on (date):

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                                             240231)'
             1   /Dayton Magallanes (Bar No.
             5   [LAW OFFICES OF DAYTON MAGALLANES
                 15786 Sophomore Ct.
             3   Moorpark, CA 93 021
                 Telephone: 310-779-2348
             4   Email: DaytonMagallanes@Yahoo.com
             5
                 Attorney for Plaintiff,
             6   Gabriela Cabrera
             7
                                                    SUPERIOR COURT OF CALIFORNIA
             8
                                     COUNTY OF LOS ANGELES, POMONA COURTHOUSE SOUTH
             9
        10       GABRIELACABRERA,                                            Case No. 21PSCV01003

         11                 Plaintiff,                                       VERIFIED COMPLAINT FOR DAMAGES
                                                                             AND PERMANENT INJUNCTIVE RELIEF
         12
                 V.                                                          FOR VIOLATION OF:
         13
                 CITY OF WEST COVINA, FOOTHILL                               1. Title II of the Americans with Disabilities
         14      TRANSIT AGENCY, AND DOES 1-10,                              Act, 42 U.S.C. §12131 et seq.;
         lS      INCLUSIVE                                                   2. Section 504 of the Rehabilitation Act, 29
                                                                             u.s.c.
         16                 Defendants.                                      $ 794 et seq.; and
                                                                             3. California's Disabled Persons Act, Cal. Civ.
         17
                                                                             Code§ 54
         18
              ACTION SUBJECT TO THE
         19   SUPPLEMENTAL FEE IN GOVERNMENT
         20 I4CODE SECTION 70616.5

        21                  Plaintiff Gabriela Cabrera complains of Defendants City of West Covina, Foothill Transit

        2?        ,Agency; and Does 1-10 ("Defendants"), inclusive, allege the following:
         23
                                                                INTRODUCTION
         24
         25       I.         Plaintiff Gabriela Cabrera, an individual suffering from polio, and as a result thereof,

         26                  afflicted with physical disabilities, requires the use of a wheelchair wherever she goes,

         27                  and brings the following action, alleging that Defendants City of West Covina ("City")
         28                                                         1
                                       Verified Complaint For Damages and Permanent Injunctive Relief
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1         and Foothill Transit Agency ("FTA") have and continue to discriminate against her based
2
          on her disability and in violation of federal and state anti-discrimination statutes.
3
     2    Specifically, Plaintiff alleges that Defendants have failed and/or refused to properly
4
5         maintain, construct, or alter the bus stop on Valley near the intersection of Nogales ("Bus

6          Stop") such that this stop is completely inaccessible to her as a wheelchair user.
7
     3.   Because of Defendants' failure to guarantee the accessibility of the bus stop, Plaintiff has
8
          been, and will continue to be, denied full and equal access to Defendants' services,
9
10         programs, and activities, all to her detriment and damage.

11   4.    Through this lawsuit, Plaintiff seeks an injunction requiring Defendants to provide her
12         "full and equal" access to the Bus Stop as required by law. Plaintiff also seeks damages
13
           and reasonable attorneys' fees, costs, and litigation expenses for enforcing her civil
14

15         rights.

16                                      LITIGATING PARTIES
17
     5.    Plaintiff resides in California with physical disabilities. She suffers with polio and cannot
18
           walk. She requires the use of a wheelchair for mobility wherever she goes because she is
19
           unable to stand or walk independent of assistance and requires a wheelchair for
20
           movement. Plaintiff is at all times relevant herein, a "qualified person with a disability"
21
           and a "physically disabled person," as those terms are defined under the ADA and its
22         implementing regulations (42 U.S.C. § 12102; 28 C.FR. $ 35.104), Section 504 (29
23         U.S.C. § 794) and California law (Cal. Gov. Code $ 12926).
24   6.    Defendants City of Jurupa Valley and Riverside Transit are at all times relevant to herein,
25         political subdivisions of the State of California.
26   7.    Plaintiff is informed and believes that each of the Defendants herein, including Does 1-
27         10, inclusive, is accountable in some capacity for the events alleged herein, or is a
28                                                2
                     Verified Complaint For Damages and Permanent Injunctive Relief
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 1
           necessary party for obtaining proper relief. Plaintiff may seek leave to amend if and when
2
           the true names, capacities, connections, or responsibilities of the Defendants and Does 1
3          through 10, inclusive, are determined.
4    8.    Plaintiff is informed and believes that each of the Defendants is the agent, ostensible
5          agent, alter ego, master, servant, trustor, trustee, employer, employee, representative,
6          franchiser, franchisee, lessor, lessee, joint venture, parent, subsidiary, affiliate, related
7          entity, partner, and/or associate, or such similar capacity, of each of the other Defendants,
 8         and was at all times acting and performing, or failing to act or perform, within the course
 9         and scope of such similar aforementioned capacities, and with the authorization, consent,
10         permission, or ratification of each of the other Defendants, and is personally responsible

11         in some manner for the acts and omissions of the other Defendants in proximately

12         causing the violations and damages complained herein, and have participated, directed,
           and have ostensibly and/or directly approved or ratified each of the acts or omissions of
13
           each of the other Defendants, as herein described.
14
                                         COURT JURISDICTION
15
16   9.    Does 1-10 are sued pursuant to Code of Civil Procedure section 474.
17
                                         ALLEGED FACTS
18
     10.   Plaintiff resides in the City of West Covina.
19
20   11.   Plaintiff requires use of a wheelchair to get around.
21   12.   Plaintiff does not drive and uses public transportation to travel around the community.
22
     13.   Plaintiff was traveling towards Cal Poly Pomona and needed to use the bus.
23
     14.   Plaintiff uses bus number 194 to head to her intended destination.
24
25   15.   Plaintiff was in the geographic area of the Defendant's public accommodation because

26         she lives nearby.
27
28                                               3
                    Verified Complaint For Damages and Permanent Injunctive Relief
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    I   16.   This complaint is filed on behalf of a high frequency litigant. For the pertinent statutory
    2
              period, 3 5 construction related accessibility claims have been filed .
.3
!
    4   17.   Bus number 194 stops at the Bus Stop to drop off and pick up bus riders, including

5             Plaintiff, at the location of Valley Blvd. and Nogales Street.
    6
        18.   On information and belief, at all times relevant herein, the City owned, controlled,
    7
              maintained, and exercised dominion over the Bus Stop.
    8
    9   19.   On information and belief, at all times relevant herein, FTA owned, controlled,

10            maintained, and exercised dominion over the Bus Stop.
11
        20.   The bus stop lacks an accessible boarding and unloading area. The features that make the
12
              Bus Stop inaccessible to wheelchair users include:
13
14            a. The boarding and unloading area lacks appropriate sidewalk width due to placement

15                of a chain link fence, bus bench, and trash can, to allow Plaintiff to board bus when
16
                  the bus ramp is engaged due to the aforementioned barriers, thereby precluding
17
                  Plaintiff from boarding or accessing the bus stop from her seated wheelchair position;
18
19            b. The nearby surrounding "pathway" areas consist of dirt and gravel that are neither

20                level nor stable for Plaintiff to traverse to another bus stop half a mile away in her
21
                  wheelchair, thereby leaving her with the alternative of waiting for the bus in the
22
                  middle of the street and in the line of vehicular traffic or traversing in her wheelchair
23

24                to the nearest available bus stop.

25      21.   On or about the date of August 16, 2021, Plaintiff intended to use the bus stop to head
26
              towards Cal Poly Pomona, by using bus number 194 but was unable to use this bus stop
2
28                                                  4
                       Verified Complaint For Damages and Permanent Injunctive Relief
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 1         due to the aforementioned barriers. Plaintiff intended to use the bus but was forced to
2
           make alternate arrangements due to the extreme distance and difficulty Plaintiff would
3
           have had in traversing this bus stop in her manual wheelchair.
4

5    22.   Plaintiffs difficult experiences using the Bus Stop have caused her difficulty, discomfort,

6          embarrassment, and frustration.
7
     23.   Plaintiff filed a claim form with the City of West Covina on or about September 10,
 8
           2021, mailing it via certified mail. Plaintiff also filed a claim form with Foothill Transit
 9
           Agency on or about October 22, 2021, also mailing it via certified mail.
10
11   24.   Plaintiff contends that Defendants have failed to ensure the accessibility of the Bus Stop,
12
           and in so doing have failed to guarantee her equal access to and use of the services,
13
           activities, and programs they provide to the public by and through the Bus Stop, violating
14
15         Federal and State law.

16   25.   Based on information and belief, the Bus Stop has undergone construction and/or
17
           alteration since January 1, 1982, triggering applicable California accessibility standards,
18
           California Code of Regulation, Title 24. On this basis, Plaintiff alleges that Defendants
19
20         have failed to comply with these standards by failing to provide an accessible bus

21         boarding and unloading area at the Bus Stop.
22
     26.   Based on information and belief, the Bus Stop has undergone construction and/or
23
           alteration since January 1, 1992, triggering applicable ADA Standards for Accessible
24
25         Design (ADA Standards), 28 C.F .R. pt. 36, app. D. On this basis, Plaintiff alleges that

26         Defendants have failed to comply with these standards by failing to provide an accessible

27         bus boarding and unloading area at the Bus Stop.
28                                                    5
                    Verified Complaint For Damages and Permanent Injunctive Relief
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 1   27.   Plaintiff intends to use the Bus Stop to travel in the future, and would like to do so self-
2
           sufficiently and without encountering the above- described accessibility barriers.
3
     28.   Until said barriers to the accessibility of the Bus Stop are removed, and Defendants'
4
5          unlawful and discriminatory policies and practices regarding the construction, alteration,

6          and/or maintenance of bus stops are changed, Plaintiff will continue to be denied full and
7
           equal access to Defendants' activities, programs, and services, and will suffer continued
 8
           discrimination and damages as a result.
 9
10   29.   The nature of Defendants' discrimination constitutes an ongoing violation, and unless

11         enjoined by this Court, will result in ongoing and irreparable injury to Plaintiff, that is
12         incalculable in monetary remedies. Plaintiff has no adequate remedy at law because
13
           monetary damages, will not provide adequate relief for the harm caused by the
14
15         continuation of the wrongful conduct of Defendants and the denial of her civil rights as

16         alleged herein. Accordingly, Plaintiff is entitled to injunctive relief.
17
                                 GOVERNMENT CLAIM FILED
18
                          (As to claims for damages under California State Law)
19
20   30.   Plaintiff timely filed a claim pursuant to§ 910 et seq. of the California Government Code

21         with the City on or about September 10, 2021. This claim was rejected by the City of

22         West Covina by operation of law on October 25, 2021.
23
24   31.   Plaintiff timely filed a claim pursuant to§ 910 et seq. of the California Government Code
           with FTA on or about October 22, 2021. This claim was rejected by RTA by operation of
25
           action on or about November 15, 2021.
26
27
28                                               6
                    Verified Complaint For Damages and Permanent Injunctive Relief
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1                                      FIRST CAUSE OF ACTION
2
                            Title Il of the Americans with Disabilities Act
3
                                         42 U..C. § 12131 et seq.
4

5    32.   Each of the foregoing paragraphs is incorporated herein by reference.

6    33.   Title II of the ADA provides in pertinent part: "[N]o qualified individual with a disability
7
           shall, by reason of such disability, be excluded from participation in or be denied the
 8
           benefits of services, programs, or activities of a public entity, or be subjected to
 9

10         discrimination by any such entity." 42 U.S.C. § 12132.

11   34.   Defendants have at all times mentioned herein been public entities within the meaning of
12
           Title II of the ADA.
13
     35.   Bus stops are a program, service, and/or activity Defendants offer to the public at large.
14
15   36.   At all times relevant herein Plaintiff was qualified to use the Bus Stop, and met the

16         essential eligibility requirements for use of the Bus Stop.
17   37.   Defendants' acts and omissions alleged herein have denied Plaintiff the benefits and uses
18
           of the Bus Stop, in violation of Title II and its implementing regulations. The Defendants'
19
20         discriminatory conduct includes, inter alia:

21
           a. Failing to design, construct, and/or alter the Bus Stop in a manner such that it is
22             readily accessible to and usable by individuals with disabilities, when the
23             construction/alteration was commenced after January 26, 1992 (28C.FR.$ 35.151);
24         b. Failing to operate the Bus Stop so that it is "readily accessible to and usable by
25             individuals with disabilities." (28 C.F.R. $ 35.150(a));
26
27
28                                               7
                    Verified Complaint For Damages and Permanent Injunctive Relief
     Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 13 of 80 Page ID #:13



1          c. Denying Plaintiff the opportunity to participate in or benefit from the aids, amenities,
2
              or services offered by Defendants to the public, on the basis of her disabilities (28
3
              C.F.R. § 35.130(b)(l)(ii));
4
5          d. Providing Plaintiff opportunity to participate in or benefit from the aids, amenities, or

6             services offered by Defendants to members of the public that is not equal to that
7
              afforded her ambulatory peers (28 C.F.R § 35.130(b)(l)!ii));
 8
           e. Otherwise limiting Plaintiff in the enjoyment of any right, privilege, advantage,
 9
10            benefit, or opportunity enjoyed by others receiving the aids, amenities, or services

11            offered by Defendants to members ofthe public (28 C.F.R. § 35.130(b)(l)(vii));
12
           f. Employing methods of administration that effectively subject Plaintiff to
13
              discrimination due to her disability (28 C.F.R. $ 35.130(b)(3)(i)); and
14
15         g. Failing to make reasonable modifications in policies, practices, or procedures where

16            necessary to avoid discrimination against Plaintiff on the basis of her disability (28
17
              C.F.R. § 35.130(b)(7)).
18
19   38.   Title II requires public entities to remove physical barriers that limit or deny access to a
           public entity's programs, services, and activities under the ADA by no later than January
20
           26, 1995. 28 C.F.R $ 35.150(). Since enactment of the ADA, and every year thereafter,
21
           Defendants' have failed to take appropriate measures to remove such barriers to the Bus
22
           Stop, in violation of the ADA.
23
     39.   Defendants' duties under the ADA are mandatory and long recognized. Defendants are
24
           assumed to have had knowledge of their duties at all relevant times herein, their failure to
25
           carry out these duties as alleged herein was willful and knowing and/or the product of
26
           intentional and willful indifference.
27
     40.   Pursuant to 42 U.S.C. § 12133 and 12205, Plaintiff prays for judgment as set forth below.
28                                              8
                   Verified Complaint For Damages and Permanent Injunctive Relief
     Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 14 of 80 Page ID #:14



 1
                                 SECOND CAUSE OF ACTION
2
                  Section 504 of the Rehabilitation Act of 1973 - 29 U.S.C. § 794
3
4    41.   Plaintiff incorporates by reference each of the foregoing paragraphs.
5    42.   Section 504 of the Rehabilitation Act provides that "no otherwise qualified individual
6          with a disability in the United States ... shall, solely by reason of his or her disability, be
7          excluded from the participation in, be denied the benefits of, or be subjected to
 8         discrimination under any program or activity receiving federal financial assistance." 29
 9         U.S.C.$ 794a). See also 28 C.F.R.. Part 42, Subpart G.
10   43.   Defendants receive "federal financial assistance" in the form of federal grants and loans.

11   44.   Defendants' acts and omissions as herein alleged have excluded and/or denied Plaintiff

12         the benefit of and/or participation in the programs and activities offered by Defendants to
           members of the public, in violation of Section 504 and its implementing regulations.
13
     45.   Defendants' duties under Section 504 are mandatory and long recognized. Defendants are
14
           assumed to have had knowledge of their duties at all relevant times herein, their failure to
15
           carry out these duties as alleged herein was willful and knowing and/or the product of
16
           intentional and willful indifference.
17
     46.   Plaintiff prays for judgment as set forth below Pursuant to 29 U.S.C. § 794(a).
18
19
20                                     THIRD CAUSE OF ACTION
21                   California Disabled Persons Act - California Civil Code $ 54

22                             (Statutory damages and attorneys' fees only)
23
24   47.   Each of the foregoing paragraphs is incorporated herein by reference.

25   48.   The Disabled Persons Act ("CDPA") provides that "[individuals with disabilities or
26         medical conditions have the same right as the general public to the full and free use of the
27
28                                               9
                    Verified Complaint For Damages and Permanent Injunctive Relief
     Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 15 of 80 Page ID #:15



1          streets, highways, sidewalks, walkways, public buildings, medical facilities, including
2
           hospitals, clinics, and physicians' offices, public facilities, and other public places ... "
3
           Cal. Civ. Code § 54(a).
4
5    49.   Described herein, Defendants' acts and/or omissions violate the rights of Plaintiff under

6          the CDPA. Defendants failed to ensure that facilities constructed or altered after
7
           December 1981 conformed to the standards contained in California Code of Regulations,
 8
           Title 24, amongst other things as alleged herein.
 9
10   50.   Defendants have also violated the CDPA by violating the ADA. See Cal. Civ. Code,§

11         54(c).
12
     51.   Defendants' duties under the CDP A are mandatory and long recognized. Defendants are
13
           assumed to have had knowledge of their duties at all relevant times herein, their failure to
14
           carry out these duties as alleged herein was willful and knowing and/or the product of
15
           intentional and willful indifference.
16
17   52.   Plaintiff prays for statutory damages and attorney's fees under Cal. Civ. Code $ 54.3(a),
18         pursuant to the remedies, procedures, and rights sot forth in Cal. Civ. Codc      & 54.3(a).
19
           Note: Plaintiffis not seeking injunctive reliefunder the CDPA, nor invoking section 55 of
20
21         the California Civil Code.

22                                                 PRAYER
23         Plaintiff prays that this Court:
24
            I. Issue an injunction pursuant to the ADA and Section 504, ordering Defendants to:
25
26

27
28                                                     10
                    Verified Complaint For Damages and Permanent Injunctive Relief
     Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 16 of 80 Page ID #:16



 1              a. Take the requisite steps in bringing the Bus Stop into compliance with applicable
2
                   federal and state accessibility standards and make it fully and equally available to
3
                   individuals with mobility disabilities;
4

5               b. Modify their respective policies to ensure compliance with new construction and

6                  alteration standards and program accessibility obligations.
7
            Note: Plaintiffis not seeking injunctive reliefunder the CDPA, nor invoking section 55of
 8
            the California Civil Code.
 9

10          2. Award Plaintiff general, compensatory, and statutory damages in an amount within the

11         jurisdiction of this Court;
12
            3. Award Plaintiff reasonable attorneys' fees, litigation expenses, and costs, as provided
13
            by law; and
14
15          4. Award all other relief as the Court may deem proper.

16   Dated: 12/1/2021                           LAW OFFICES OF DAYTON MAGALLANES
17

18
19                                                     D on Magallanes
20                                                     Attorney for Plaintiff,
                                                       Gabriela Cabrera
21
     I declare under penalty of perjury under the laws of California that the foregoing is true and
22
23   correct.

24
25
     Dated: 12/1/2021
                                                             ±ee'ilea
                                                       oa»el.di
26
27
28                                                    11
                     Verified Complaint For Damages and Permanent Injunctive Relief
        Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 17   of 80 Page ID #:17
                                                                  Reserved for Clerk's File Stamp
              SUPERIOR COURT OF CALIFORNIA
    '
                  COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
                                                                                                           FILED
Pomona Courthouse South                                                                           Super»or Court ol California
                                                                                                    County of Los Angels
400 Civic Center Plaza, Pomona, CA 91766
                                                                                                        12/02/2021
                  NOTICE OF CASE ASSIGNMENT                                              3en R Car@sexy@gc'Cea'Cas°

                                                                                           !y.           J. Gonzalez        De5.ty
                          UNLIMITED CIVIL CASE

                                                                                   CASE NUMBER:

 Your case is assigned for all purposes to the judicial officer indicated below.   21PSCV01003

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE               DEPT      ROOM                   ASSIGNED JUDGE                     DEPT       ROOM
   V    I Peter A. Hernandez               0                          I




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer/ Clerk of Court
    on 12/02/2021                                                         By J. Gonzalez                                   , Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
         Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 18 of 80 Page ID #:18
                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the Califomia Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January l, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others arc inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME ST AND ARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed.          Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution. bifurcation. settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than IO days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and arc randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




 LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
 LASC Approved 05/06
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                   Superior Court of California, County of Los Angeles



                            ALTERNATIVE DISPUTE RESOLUTION (ADR}
                                   INFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
    •    Saves Time: ADR is faster than going to trial.
    •    Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
    •    Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
    •    Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR
    •    Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    •    No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
    1.   Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
         settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2.   Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
         strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
         acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                 Mediation may be appropriate when the parties
                    • want to work out a solution but need help from a neutral person.
                    • have communication problems or strong emotions that interfere with resolution.
                 Mediation may not be appropriate when the parties
                        •   want a public trial and want a judge or jury to decide the outcome.
                        •   lack equal bargaining power or have a history of physical/emotional abuse.



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    For Mandatory Use
                                                                                                                    Page 1 of 2
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         •
                                    How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

             a. The Civil Mediation Vendor Resource List
                  If all parties in an active civil case agree to mediation, they may contact these organizations
                  to request a "Resource List Mediation" for mediation at reduced cost or no cost {for selected
                  cases).

                      •   ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                          (949) 863-9800
                      •   JAMS, Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310) 309-6209
                      •   Mediation Center of Los Angeles Program Manager info@mediationLA.org
                          (833) 476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

             b. Los Angeles County Dispute Resolution Programs
                  https://hrc. lacounty.gov/wp-content/ uploads/2020/05/DR P-Fact-Sheet-23Octoberl 9-Current-as-of-Octo ber2019-1.pdf


                  Day of trial mediation programs have been paused until further notice.

                  Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
                  should carefully review the Notice and other information they may receive about {ODR)
                  requirements for their case.

             c.   Mediators and ADR and Barorganizationsthat provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator's decision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory SettlementConferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http:ijwww.lacourt.org/division/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


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              EXHIBIT “B”
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Electronically FILED by Superior Court of California, County of Los Angeles on 02/24/2022 03:34 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Gonzalez,Deputy Clerk




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                                Solana Beach, CA 92075
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                      4         E-mail: snoya@deangazzo.com

                      5
                                Attorneys for Defendant
                      6         Foothill Transit
                                (erroneously sued as “Foothill Transit Agency”)                                                             Exempt from fees per
                      7                                                                                                                    Gov. Code Section 6103

                      8                                SUPERIOR COURT OF THE STATE OF CALIFORNIA

                      9                        COUNTY OF LOS ANGELES, POMONA COURTHOUSE SOUTH
                    10        GABRIELA CABRERA,                                                        Case No.: 21PSCV01003

                    11                               Plaintiff,                                        ANSWER OF DEFENDANT FOOTHILL
                                                                                                       TRANSIT TO PLAINTIFF’S VERIFIED
                    12                    v.                                                           COMPLAINT

                    13        CITY OF WEST COVINA, FOOTHILL
                              TRANSIT AGENCY, and DOES 1-10,                                           Dept:              O
                    14        INCLUSIVE,                                                               Judge:             Hon. Peter A. Hernandez

                    15                                                                                 Complaint Filed: December 2, 2021
                                                     Defendants.                                       Trial Date: None set
                    16

                    17                   Defendant Foothill Transit (“Defendant”) answers plaintiff’s Complaint (“Complaint”)
                    18        as follows:
                    19                                                                                1.
                    20                   1.          Answering Paragraph 1: Deny the allegations regarding the City of West Covina
                    21        as the location of the subject matter referred to in the complaint. Deny the allegations regarding
                    22        the Defendant Foothill Transit discriminating against plaintiff or any violation of state law. As
                    23        to the remaining allegations, Defendant lacks sufficient information or belief to admit or deny
                    24        and on that basis denies them.
                    25                   2.          Answering Paragraph 2: Defendant denies the subject bus stop is inaccessible,
                    26        and denies any obligation, or failure, to maintain the bus stop which is the right of way of another
                    27        public entity. As to the remaining allegations, Defendant lacks sufficient information or belief
                    28        to admit or deny and on that basis denies.
                                                                                                        1
                                                                 Answer of Defendant Foothill Transit to Plaintiff’s Complaint
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  1          3.      Answering Paragraph 3: Defendant denies the subject bus stop is inaccessible,

  2   and denies any obligation, or failure, to maintain the bus stop which is the right of way of another

  3   public entity. As to the remaining allegations, Defendant lacks sufficient information or belief

  4   to admit or deny and on that basis denies.

  5          4.      Answering Paragraph 4: To the extent this paragraph contains factual allegations

  6   requiring an affirmative response, the allegations do not pertain to this Defendant and thus

  7   require no affirmative response by the Defendant. Defendant lacks sufficient information or

  8   belief to admit or deny and on that basis denies.

  9          5.      Answering Paragraph 5: Defendant lacks sufficient information or belief to admit
 10   or deny and on that basis denies.

 11          6.      Answering Paragraph 6: Defendant admits the identified agencies are public

 12   entities, but denies those entities have any connection to the subject of this action.

 13          7.      Answering Paragraph 7: To the extent this paragraph contains factual allegations

 14   requiring an affirmative response, the allegations do not pertain to this Defendant and thus

 15   require no affirmative response by the Defendant. Defendant lacks sufficient information or

 16   belief to admit or deny and on that basis denies.

 17          8.      Answering Paragraph 8: To the extent this paragraph contains factual allegations

 18   requiring an affirmative response, the allegations do not pertain to this Defendant and thus

 19   require no affirmative response by the Defendant. Defendant denies any other party is an agent

 20   for this answering Defendant. As to the remaining allegations, Defendant lacks sufficient

 21   information or belief to admit or deny and on that basis denies.

 22          9.      Answering Paragraph 9: To the extent this paragraph contains factual allegations

 23   requiring an affirmative response, the allegations do not pertain to this Defendant and thus

 24   require no affirmative response by the Defendant.

 25          10.     Answering Paragraphs 10-16: Defendant lacks sufficient information or belief to

 26   admit or deny and on that basis denies.
 27   ///

 28   ///
                                                           2
                             Answer of Defendant Foothill Transit to Plaintiff’s Complaint
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  1             11.   Answering Paragraph 17: Defendant admits bus route 194 stops at Nogales Street

  2   and Valley Blvd. As to the remaining allegations, Defendant lacks sufficient information or

  3   belief to admit or deny and on that basis denies.

  4             12.   Answering Paragraph 18: Defendant admits City of Industry (not a named

  5   defendant) owns and controls the right of way where the referenced bus stop is located.

  6             13.   Answering Paragraph 19: Defendant denies that it owns and/or controls and/or

  7   exercises dominion over the bus stop and/or the right of way where the referenced bus stop is

  8   located.

  9             14.   Answering Paragraph 20-22: Defendant lacks sufficient information or belief to
 10   admit or deny and on that basis denies.

 11             15.   Answering Paragraph 23: As to the first sentence, Defendant lacks sufficient

 12   information or belief to admit or deny and on that basis denies. As to the remaining allegations,

 13   Defendant admits plaintiff filed an ADA complaint pursuant to the ADA law, but denies that

 14   plaintiff submitted a claim pursuant to the Government Claims Act.

 15             16.   Answering Paragraph 24: Defendant denies that it failed to guarantee equal

 16   access with respect to the bus stop, denies that it has responsibility as a fixed route bus service

 17   provider to guarantee accessibility of right of way owned by other public agencies, and as to the

 18   remaining allegations lacks sufficient information or belief to admit or deny and on that basis

 19   denies.

 20             17.   Answering Paragraphs 25-28: Defendant denies that it has responsibility as a

 21   fixed route bus service provider to guarantee accessibility of right of way owned by other public

 22   agencies, and as to the remaining allegations lacks sufficient information or belief to admit or

 23   deny and on that basis denies.

 24             18.   Answering Paragraph 29: Defendant denies that it has discriminated against

 25   plaintiff or committed any violation, and denies it has responsibility as a fixed route bus service

 26   provider to guarantee accessibility of right of way owned by other public agencies, and as to the
 27   remaining allegations lacks sufficient information or belief to admit or deny and on that basis

 28   denies.
                                                           3
                             Answer of Defendant Foothill Transit to Plaintiff’s Complaint
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  1          19.     Answering Paragraph 30: Defendant lacks sufficient information or belief to

  2   admit or deny and on that basis denies.

  3          20.     Answering Paragraph 31: Defendant denies that plaintiff timely submitted a

  4   claim pursuant to the Government Claims Act, or that a timely claim was denied.

  5          21.     Answering Paragraph 32: To the extent this paragraph contains factual

  6   allegations requiring an affirmative response, the allegations do not pertain to this Defendant

  7   and thus require no affirmative response by the Defendant. Defendant lacks sufficient

  8   information or belief to admit or deny and on that basis denies.

  9          22.     Answering Paragraph 33: Admit.
 10          23.     Answering Paragraph 34: Admit answering defendant is a public entity; as to

 11   remaining allegations, deny that as a fixed route bus service provider that all sections of ADA

 12   apply to this answering defendant and on that basis denies.

 13          24.     Answering Paragraph 35: Admit fixed route bus service is available to the public

 14   but deny that this answering defendant owns and/or controls the bus stop.

 15          25.     Answering Paragraph 36: Defendant lacks sufficient information or belief to

 16   admit or deny and on that basis denies.

 17          26.     Answering Paragraph 37: Defendant lacks sufficient information or belief to

 18   admit or deny and on that basis denies.

 19          27.     Answering Paragraph 38: Admit the cited code sections provide legal regulations

 20   pertinent to ADA law. As to the remaining allegations Defendant lacks sufficient information

 21   or belief to admit or deny and on that basis denies.

 22          28.     Answering Paragraph 39: Defendant lacks sufficient information or belief to

 23   admit or deny the allegations as to other defendants and on that basis denies. As to this answering

 24   defendant, the allegations are denied.

 25          29.     Answering Paragraphs 40-41: To the extent this paragraph contains factual

 26   allegations requiring an affirmative response, the allegations do not pertain to this Defendant
 27   and thus require no affirmative response by the Defendant. Defendant lacks sufficient

 28   information or belief to admit or deny and on that basis denies.
                                                      4
                             Answer of Defendant Foothill Transit to Plaintiff’s Complaint
Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 26 of 80 Page ID #:26



  1          30.     Answering Paragraph 42: Admit the cited code sections provide legal regulations

  2   pertinent to ADA law.

  3          31.     Answering Paragraph 43: Admit.

  4          32.     Answering Paragraphs 44-45: Defendant lacks sufficient information or belief to

  5   admit or deny the allegations as to other defendants and on that basis denies. As to this answering

  6   defendant, the allegations are denied

  7          33.     Answering Paragraph 46: To the extent this paragraph contains factual

  8   allegations requiring an affirmative response, the allegations do not pertain to this Defendant

  9   and thus require no affirmative response by the Defendant. Defendant lacks sufficient
 10   information or belief to admit or deny and on that basis denies.

 11          34.     Answering Paragraph 47: To the extent this paragraph contains factual

 12   allegations requiring an affirmative response, the allegations do not pertain to this Defendant

 13   and thus require no affirmative response by the Defendant. Defendant lacks sufficient

 14   information or belief to admit or deny and on that basis denies.

 15          35.     Answering Paragraph 48: Admit the cited code sections provide legal regulations

 16   pertinent to ADA law. As to the remaining allegations Defendant lacks sufficient information

 17   or belief to admit or deny and on that basis denies.

 18          36.     Answering Paragraph 49: Defendant lacks sufficient information or belief to

 19   admit or deny the allegations as to other defendants and on that basis denies. As to this answering

 20   defendant, the allegations are denied.

 21          37.     Answering Paragraphs 50-51: Defendant lacks sufficient information or belief to

 22   admit or deny the allegations as to other defendants and on that basis denies. As to this answering

 23   defendant, the allegations are denied.

 24          38.     Answering Paragraph 52: To the extent this paragraph contains factual

 25   allegations requiring an affirmative response, the allegations do not pertain to this Defendant

 26   and thus require no affirmative response by the Defendant. Defendant lacks sufficient
 27   information or belief to admit or deny and on that basis denies.

 28   ///
                                                            5
                              Answer of Defendant Foothill Transit to Plaintiff’s Complaint
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  1                                                      2.

  2                                 FIRST AFFIRMATIVE DEFENSE

  3          Plaintiffs’ Complaint fails to state a claim upon which relief may be granted.

  4                               SECOND AFFIRMATIVE DEFENSE

  5          Answering defendant is informed and believes that if it is held responsible for the injuries

  6   and damages to plaintiffs, if any, plaintiffs were at fault and any award to plaintiffs must be

  7   reduced in proportion to the fault attributed to them.

  8                                THIRD AFFIRMATIVE DEFENSE

  9          Answering defendant is informed and believes that the damages suffered by plaintiff, if
 10   any, were the actual and proximate result of the acts and/or omissions of others over which this

 11   answering defendant exercises no control and answering defendant’s liability, if any, is limited

 12   in direct proposition to that percentage of fault actually attributed to answering defendant.

 13                               FOURTH AFFIRMATIVE DEFENSE

 14          Answering defendant is informed and believes that plaintiff is barred from pursuing

 15   money damages under certain state law causes of action based on the failure to comply with the

 16   claims requirements of the California Government Code.

 17                                 FIFTH AFFIRMATIVE DEFENSE

 18          Answering defendant is informed and believes that plaintiffs’ claims for damages are, in

 19   part, barred by the applicable statute of limitations.

 20                                 SIXTH AFFIRMATIVE DEFENSE

 21          Answering defendant is informed and believes that plaintiff failed to mitigate her

 22   damages, if any.

 23                              SEVENTH AFFIRMATIVE DEFENSE

 24          Answering defendant is informed and believes that it is not liable for any alleged

 25   inadequacy of the dimensions of the wheelchair landing area described in the plaintiff’s

 26   complaint. That is because this answering defendant has no control over the right of way or the
 27   public entity right of way owner’s construction specifications, and the complaint does not

 28   expressly allege this answering defendant has any such control or authority.
                                                      6
                             Answer of Defendant Foothill Transit to Plaintiff’s Complaint
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  1          See     below     excerpts      from      the       ADA      Standards:         https://www.access-

  2   board.gov/files/ada/ADA-Standards.pdf

  3          Figure 810.2.2 Dimensions of Bus Boarding and Alighting Areas:

  4
             Note to Reader: The Department of Transportation’s ADA standards indicate
  5          that compliance is required to the extent construction specifications are within
             a public entity’s control:
  6
             810.2.2 Dimensions. Bus boarding and alighting areas shall provide a clear
  7          length of 96 inches (2440 mm), measured perpendicular to the curb or vehicle
             roadway edge, and a clear width of 60 inches (1525 mm), measured parallel to
  8          the vehicle roadway. Public entities shall ensure that the construction of bus
             boarding and alighting areas comply with 810.2.2, to the extent the construction
  9          specifications are within their control.
 10          Because answering defendant lacks control over the public entity right of way owner’s

 11   construction specifications, this answering defendant is not required to comply with the

 12   standards of section 810.2.2, and no ADA violation can be stated against this answering for any

 13   alleged inadequacy of the wheelchair landing area which is under control of the City of Industry.

 14                               EIGHTH AFFIRMATIVE DEFENSE

 15          Answering defendant is informed and believes that it is immune from liability for state

 16   law claims under Government Code section 815.2, 818.2, 818.8, 820.2, 820.4, 820.8, 821, 821.6,

 17   822.2, and 845.8.

 18                                NINTH AFFIRMATIVE DEFENSE

 19          Answering defendant alleges that pursuant to Appendix E to Part 37 (reasonable

 20   modification), the Department of Transportation final rule provides stopping a bus a short

 21   distance from a bus stop sign to allow a wheelchair user to avoid an obstacle to boarding using

 22   a lift is reasonable and is not a violation of the ADA standards, and therefore this answering

 23   defendant is not liable in this matter and injunctive relief is unavailable.

 24                                TENTH AFFIRMATIVE DEFENSE

 25          Answering defendant alleges that plaintiffs’ rights, privileges, and immunities secured

 26   under the ADA Standards and/or laws of the United States, have not been violated by any alleged
 27   conduct of this answering defendant.

 28   ///
                                                             7
                             Answer of Defendant Foothill Transit to Plaintiff’s Complaint
Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 29 of 80 Page ID #:29



  1                              ELEVENTH AFFIRMATIVE DEFENSE

  2           At the time and place referenced in the Complaint, and before such event, plaintiffs

  3   knew, appreciated and understood each and every risk involved in placing themselves in the

  4   position when they willingly and voluntarily assumed each of said risks, including, but not

  5   limited to, the risk of suffering deprivation of ADA right(s).

  6                               TWELFTH AFFIRMATIVE DEFENSE

  7           Answering defendant alleges that plaintiffs’ Complaint fails to state facts sufficient to

  8   set forth a claim for injunctive relief.

  9                            THIRTEENTH AFFIRMATIVE DEFENSE
 10           Answering defendant alleges that plaintiffs’ claims are barred by the equitable doctrines

 11   of estoppel, laches, and unclean hands.

 12                            FOURTEENTH AFFIRMATIVE DEFENSE

 13           Answering defendant currently has insufficient knowledge or information upon which

 14   to determine whether additional affirmative defenses may be available to it which has not yet

 15   been asserted in this answer, and therefore reserves the right to assert additional affirmative

 16   defenses upon subsequent discovery, investigation, and analysis.

 17           WHEREFORE, defendant prays as follows:

 18           1.      That plaintiff take nothing by her Complaint;

 19           2.      That defendant be awarded its costs of suit;

 20           3.      For such further relief as the court deems proper; and

 21           4.      That the sole liability of this defendant, if any, be limited in proportion to the

 22   degree of fault attributable to this answering defendant.

 23    Dated: February 24, 2022                                   Dean Gazzo Roistacher LLP

 24
                                                           By: /s/ Scott Noya
 25
                                                           Scott Noya
 26                                                        Attorneys for Defendant
                                                           Foothill Transit (erroneously sued as “Foothill
 27                                                        Transit Agency”)

 28
                                                            8
                              Answer of Defendant Foothill Transit to Plaintiff’s Complaint
                  Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 30 of 80 Page ID #:30
Electronically FILED by Superior Court of California, County of Los Angeles on 02/24/2022 03:34 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Gonzalez,Deputy Clerk



            ATTORNEY or party without attorney (Name, state bar number, and address):                                                      FOR COURT USE ONLY
            Dean Gazzo Roistacher LLP
            Scott Noya, Esq. (SBN 137978)
            440 Stevens Avenue, #100
            Solana Beach, CA 92075
            Telephone No. (858) 380-4683     Facsimile No. (858) 492-0486
            ATTORNEY FOR Defendant Foothill Transit
            SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
            Street Address:    400 Civic Center Plaza
            Mailing Address:   400 Civic Center Plaza
            City and Zip Code: Pomona, CA 91766
            Branch Name:       Pomona Courthouse South
            PLAINTIFF(S)/PETITIONER(S) Gabriela Cabrera                                                                                  CASE NUMBER:
                                                                                                                                         21PSCV01003
            DEFENDANT(S)/RESPONDENT(S)                                          City of West Covina, et al.
                                 PROOF OF SERVICE—CIVIL                                                                                  JUDGE:Peter A.
            Check method of service (only one):                                                                                          Hernandez
             By Personal Service  By Mail              By Messenger Service                                                           DEPT: O
             By Facsimile         By Overnight Delivery  By E-Mail/Electronic
            Transmission
                                                   (Do not use this Proof of Service to show service of a Summons and Complaint)

       1.         At the time of service I was over 18 years of age and not a party to this action.

       2.    My address is (specify one):
             a.  Business:                                       b.       Residence:

                     440 Stevens Avenue, Suite 100, Solana Beach, CA 92075

       3. The fax number or electronic address from which I served the documents is (complete if service was by fax or electronic service):
       jwelle@deangazzo.com

       4.    On February 24, 2022 I served the following documents (specify):

                  The documents are listed in the Attachment to Proof of Service–Civil (Documents Served).
       5.    I served the documents on the person or persons below, as follows:

             a.   Name of person served:

             b.    (Complete if service was by personal service, mail, overnight, or messenger service.)
                  Business or residential address where person was served:

             c.    (Complete if service was by fax or electronic service.)
                       (1) Fax number or electronic notification address where person was served:
                       (2) Time of Service:
                 The names, addresses, and other applicable information about the persons served is on the Attachment to Proof of Service—Civil
                     (Persons Served).

       6.    The documents were served by the following means (specify):

       a.        By personal service. I personally delivered the documents to the persons at the addresses listed in item 5. (1) For a party represented
                  by an attorney, delivery was made to the attorney or at the attorney's office by leaving the documents in an envelope or package
                  clearly labeled to identify the attorney being served with a receptionist or an individual in charge of the office, between the hours of
                  nine in the morning and five in the evening. (2) For a party, delivery was made to the party or by leaving the documents at the party's
                  residence with some person not less than 18 years of age between the hours of eight in the morning and six in the evening.
             Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 31 of 80 Page ID #:31

     CASE NAME: Gabriela Cabrera v. City of West Covina, et al.                                        CASE NUMBER:
                                                                                                       21PSCV01003

6.b.        By United States mail. I enclosed the documents in a sealed envelope or package addressed to the persons at the addresses in item 5
             and (specify one):

       (1)      deposited the sealed envelope with the United States Postal Service, with the postage fully prepaid.

       (2)      placed the envelope for collection and mailing, following our ordinary business practices. I am readily familiar with this business's
                 practice for collecting and processing correspondence for mailing. On the same day that correspondence is placed for collection
                 and mailing, it is deposited in the ordinary course of business with the United States Postal Service, in a sealed envelope with
                 postage fully prepaid.

I am a resident or employed in the county where the mailing occurred. The envelope or package was placed in the mail at (city and state):
Solana Beach, California

c.          By overnight delivery. I enclosed the documents in an envelope or package provided by an overnight delivery carrier and addressed
             to the persons at the addresses in item5. I placed the envelope or package for collection and overnight delivery at an office or a
             regularly utilized drop box of the overnight delivery carrier.

d.          By messenger service. I served the documents by placing them in an envelope or package addressed to the persons at the addresses
             listed in item 5 and providing them to a professional messenger service for service. (A declaration by the messenger must accompany
             this Proof of Service or be contained in the Declaration of Messenger below.)

e.          By fax transmission. Based on an agreement of the parties to accept service by fax transmission, I faxed the documents to the persons
             at the fax numbers listed in item 5. No error was reported by the fax machine that I used. A copy of the record of the fax transmission,
             which I printed out, is attached.

f.          By electronic service. Based on a court order or an agreement of the parties to accept service by e-mail or electronic transmission, I
             caused the documents to be sent to the persons at the e-mail addresses listed in item 5.

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date:        February 24, 2022



       Janie Welle                                                                  /s/ Janie Welle
(TYPE OR PRINT NAME OF DECLARANT)                                                (SIGNATURE OF DECLARANT)



(If item 5d above is checked, the declaration below must be completed or a separate declaration from a messenger must be attached.)

DECLARATION OF MESSENGER

      By personal service. I personally delivered the envelope or package received from the declarant above to the persons at the addresses
       listed in item 4. (1) For a party represented by an attorney, delivery was made to the attorney or at the attorney's office by leaving the
       documents in an envelope or package, which was clearly labeled to identify the attorney being served, with a receptionist or an individual
       in charge of the office. (2) For a party, delivery was made to the party or by leaving the documents at the party's residence with some
       person not less than 18 years of age between the hours of eight in the morning and six in the evening.
At the time of service, I was over 18 years of age. I am not a party to the above-referenced legal proceeding.

I served the envelope or package, as stated above, on (date):
I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




(TYPE OR PRINT NAME OF DECLARANT)                                                (SIGNATURE OF DECLARANT)




                                                ATTACHMENT TO PROOF OF SERVICE—CIVIL
                                                            (Proof of Service)
   Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 32 of 80 Page ID #:32

CASE NAME: Gabriela Cabrera v. City of West Covina, et al.                CASE NUMBER:
                                                                          21PSCV01003

             ATTACHMENT TO PROOF OF SERVICE - CIVIL (DOCUMENTS SERVED)

           The documents that were served are as follows (describe each document specifically):
ANSWER OF DEFENDANT FOOTHILL TRANSIT TO PLAINTIFF’S VERIFIED COMPLAINT




                               ATTACHMENT TO PROOF OF SERVICE—CIVIL
                                           (Proof of Service)
     Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 33 of 80 Page ID #:33

  CASE NAME: Gabriela Cabrera v. City of West Covina, et al.                            CASE NUMBER:
                                                                                        21PSCV01003

                   ATTACHMENT TO PROOF OF SERVICE - CIVIL (PERSONS SERVED)


Name, Address, and Other Applicable Information About Persons Served:


  Name of Person Served:                     Where Served:                                         Time of Service:
                                             (Provide business or residential address where        (Complete for service by fax
                                             service was made by personal service, mail,           transmission or electronic service.)
                                             overnight delivery, or messenger service. For other
                                             means of service, provide fax number or electronic
                                             notification address, as applicable.)

  Dayton Magallanes (Bar No. 240231)         Dayton Magallanes, Esq.
  Law Offices of Dayton Magallanes           Law Offices of Dayton
  Telephone: 310-779-2348                    Magallanes
  Email: DaytonMagallanes@Yahoo.com          15786 Sophomore Ct.
                                             Moorpark, CA 93 021
  Attorney for Plaintiff,
  Gabriela Cabrera                                                                                 Time:


                                                                                                   Time:


                                                                                                   Time:


                                                                                                   Time:


                                                                                                   Time:


                                                                                                   Time:


                                                                                                   Time:


                                                                                                   Time:


                                                                                                   Time:


                                                                                                   Time:


                                                                                                   Time:


                                                                                                   Time:

                                ATTACHMENT TO PROOF OF SERVICE—CIVIL
                                            (Proof of Service)
Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 34 of 80 Page ID #:34




              EXHIBIT “C”
                                                             Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 35 of 80 Page ID #:35

                                                                                                                                                                                                                        CIV-110
                                                  ATTORNEY OR PARTY WITHOUT ATTORNEY:                           STATE BARNO:     240231                                                       FOR COURT USE ONLY
                                                  NAME: Dayton Magallanes
                                                  FIRM NAME: Law Offices of Dayton Magallanes
                                                  STREET ADDRESS: 15786 Sophomore Ct
                                                  city: Moorpark                                                     STATE: CA           ZIP CODE: 93021
                                                  TELEPHONE NO.: (310) 779-2348                                     FAX NO. :
                                                  E-MAILADDRESS: daytonmagallanes@yahoo.com
                                                  ATTORNEY FOR (Name). Gabriela Cabrera
                                                  SUPERIOR COURT OF CALIFORNIA, COUNTY OF                         Los Angeles
                                                   STREET ADDRESS: 400 Civic Center Plaza
                                                   MAILING ADDRESS:
                                                  CITY AND ZIP CODE: Pomona 91766
                                                       BRANCH NAME: East District
                                                          Plaintiff/Petitioner: GABRIELA CABRERA
                                                  Defendant/Respondent: CITY OF WEST COVINA
                                                                                                                                                                      CASE NUMBER:
                                                                                       REQUEST          FOR DISMISSAL                                                 21PSCV01003

                                                   A conformed copy will not be returned by the clerk unless a method of return is provided with the document.
                                                   This form may not be used for dismissal of a derivative action or a class action or of any party or cause of action ina                                                class
                                                   action. (Cal. Rules of Court, rules 3.760 and 3.770.)
                                               1.    TO THE CLERK: Please dismiss this action as follows:
                                                     a. (1)         [_] With prejudice        (2) [3] Without prejudice
                                                     b. (1)         [_] Complaint             (2) [__] Petition
                                                        (3)         [-__] Cross-complaint filed by (name):                                                                   on (date):
                                                            (4)     [-__] Cross-complaint filed by (name):                                                                   on (date):
                                                            (5)     [£_] Entire action of all parties and all causes of action
                                                          (6) [4¢] Other (specify):* Defendant, City of West Covina only.
                                              2.     (Complete in all cases except family law cases.)
                                                     The court [-x_] did [~~] didnot waive court fees and costs for a party in this case. (This information may be obtained from the
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                                                     clerk. If court fees and costs were waived, the declaration on the back gfT       pstie completed).
                                              Date:2/1/22                                                                                                     Cc)
                                              Dayton Magallanes, Esq.                                                                          >                ——             _                              .
                                              (TYPE OR PRINT NAME OF [~x_] ATTORNEY [|                   PARTY WITHOUT ATTORNEY)                                  Oe               SIGNATURE)
                                              *if dismissal requested is of specified parties only of specified causes of action only,         Attorney or party without attorney for:
                                              or of specified cross-compiaints only,   so state and identify the parties, causes of                   Plaintiff/Petitioner                |    Defendant/Respondent
                                              action, or cross-compliaints to be dismissed.                                                    r    | Cross    Complainant



                                              3.     TO THE CLERK:            Consent to the above dismissal is hereby given.**
                                              Date:                                                                                            >

                                              (TYPE OR PRINT NAME OF ["] ATTORNEY [| PARTY WITHOUT ATTORNEY)                                                               (SIGNATURE)
                                                 If a cross-complaint — or Response (Family Law) seeking affirmative                           Attorney or party without attorney for:
                                              relief — is on file, the attorney for crass-complainant (respondent) must sign                              int      14
                                              this consent if required by Code of Civil Procedure. section 581 (i) or (j).                     Cd    Plaintiff/Petitioner          Co         Defendant/Respondent
                                                                                                                                               [~~] Cross Complainant
                                              (To be completed by            clerk)
                                              4.     [__] Dismissal entered as requested on (date):
                                              5      [__]         Dismissal entered on     (date):                                        as to only (name):    Defendant, City of West Covina only.
                                              6. [__] Dismissal not entered as requested for the following reasons (specify):


                                              7.     a. [_] Attorney or party without attorney notified on (date):
                                                     b.   [-__] Attorney or party without attorney not notified. Filing party failed to provide
                                                                |_| a copy to be-conformed          [| means to return conformed copy
                                              Date: Clerk, by                                                                                                                                          , Deputy          Page 1 of2
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                                                                                                                    REQUEST FOR DISMISSAL                                            Oa eaie tak cares             www.courts.ca.gov
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            Electronically FILED by Superior Court of California, County of Los Angeles on 02/01/2022 05:51 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Gonzalez,Deputy Clerk
|                      tA torney or Party without Attorney:
    :                                                                                                                                                            For Court Use Only
                      DAYTON MAGALLANES, Bar #240231
                    | 15786 SOPHOMORE COURT
                      MOORPARK, CA 93021                                                                                                           :
                     Telephone Na: 310-779-2348
                   _|Dayton@MagallanesLegal,com                                                      Ref. No, or File No.:
                       Attorney for: Plaintiff                                                        POtRR-      (61 FQ
                       Insert name of Court, and Judicial District and Branch Court:
                         Los Angeles County Superior Court-East District-Unlimited
                       Plainig: GABRIELA CABRERA
                       Defendant: CITY OF WEST COVINA, FOOTHILL TRANSIT AGENCY
                                                                                                                                               _
    :                          PROOF OF SERVICE                              "| xearing Date:                  Time:            Depe'Div:              Case Number:
                         SUMMONS AND COMPLAIN
                                                                                                                                                        21PSCV01003
                       1, At the'time of service I was at least 18 years of age and not a party to
                                                                                                   this action.
                    2. L served copies of the SUMMONS AND COMPLAINT; NOTICE OF CASE
                                                                                    ASSIGNMENT; ADR PACKAGE
                    3. a. Party served:                                                     FOOTHILL TRANSIT AGENCY
                       &. Person served:                                                    JANE DOE RECEPTIONIST-REFUSED NAME, PERSON IN CHARGE
                                                                                                                                                                ,
                                                                                            Hispanic, Fernale, 30 Years Old, Black Hair, Brown Eyes, 140 Pounds

                    4, Address where the party was served:                                  100 S. VINCENT AVE
                                              ;                                             WEST COVINA, CA            91790
                    J. 1 served the party:
                       b. by substituted service, On: Tue., Jan. 25, 2022 at: 10:13AM by leaving the
                                                                                                        copies with or in the presence of:
                                                                            JANE DOE RECEPTIONIST-REFUSED NAME, PERSON IN CHARGE
                          (1) (Business) a Person in charge at least 18 years of age apparently in charge
                                                                                                          of the office or usual place of business of the
                                 person served. | informed him or her of the general nature of the papers.
                                                                                                           -
                            (4) A declaration of mailing is attached.


                    6. The "Notice to the Person Served" (on the Summons) was completed as follows:
                        on behalf af: FOOTHILL TRANSIT AGENCY
                        Other: BUSINESS ORGANIZATION FORM UNKNOWN

                    7, Person Who Served Papers:
                                                                                                                                   Recoverable Cost Per CCP 1033.5(a\(4\(B)
        :                  a. GARY HANSEN C.C.P.S.                                                        a.    The Fee for Service was: FO
                           b, COURT CONNECTION ATTORNEY SERVICES
                                                                                                                                                               . SO                               ~
                                                                                                          e.    lam: (3) registered California process server
                              P.O. BOX 90065                                                                            (i) Owner
                              CITY OF INDUSTRY, CA 91715-0065                                                           (ii) Registration No.:
                           c. 626-483-7204                                                                                                          2988
                                                              ,                                                         (iti) County:               Los Angeles
                                                                                                                        (iv) Expiration Date:       Mon, Sep. 12, 2022




                   8      I declare under penaity of perjury under the laws of the State af California that
                                                                                                            the foregoing is true and correct.
                          Date: Fri, Jan. 28, 2022                                                                              a
                    pute TSE GSU             opm FOS-O1g                                    SUMMONS ARDUOMALINT:                             (Cas HANSEN CCF)                         day 84586
Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 37 of 80 Page ID #:37




              EXHIBIT “D”
Case Case
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  1   Dean Gazzo Roistacher LLP
      Scott Noya, Esq. (SBN 137978)
  2   440 Stevens Avenue, Suite 100
      Solana Beach, CA 92075
  3   Telephone: (858) 380-4683
      Facsimile: (858) 492-0486
  4   E-mail: snoya@deangazzo.com
  5
  6   Attorneys for Defendant
      Foothill Transit
  7   (erroneously sued as “Foothill Transit Agency”)
  8                       UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
10    GABRIELA CABRERA,                         Case No.:
11                 Plaintiff,                   NOTICE OF REMOVAL OF
                                                ACTION; UNDER 28 U.S.C. sec.
12           v.                                 1441(a) (FEDERAL QUESTION)
13    CITY OF WEST COVINA,                      Trial Date: None set
      FOOTHILL TRANSIT AGENCY,
14    and DOES 1-10, INCLUSIVE,
15                 Defendants.
16
      TO THE CLERK OF THE ABOVE-ENTITLED COURT:
17
            PLEASE TAKE NOTICE that defendant Foothill Transit (erroneously
18
      sued as “Foothill Transit Agency”) hereby removes to this Court the state court
19
      action described below:
20
            1.     On December 2, 2021, an action was commenced in the Superior
21
      Court of the State of California in the County of Los Angeles, North County
22
      District, entitled Gabriela Cabrera v. City of West Covina, Foothill Transit
23
      Agency, and Does 1-10, inclusive, Case No. 21PSCV01003. Attached hereto as
24
      Exhibit “A” is the complaint.
25
            2.     The first date upon which defendant Foothill Transit received a copy
26
      of said complaint was January 25, 2022. The proof of service submitted by
27
      plaintiff is attached hereto as Exhibit “B.”
28
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  1         3.     This action alleges, as its First Cause of Action, violation of the
  2   Americans with Disabilities Act, Title II and 42 U.S.C. § 12131 et seq. against all
  3   defendants. This action also includes as its Second Cause of Action a claim for
  4   violation of Section 504 of the Rehabilitation Act of 1973 pursuant to 29 U.S.C. §
  5   794 against all defendants. This Court has original jurisdiction over such claims
  6   under 29 U.S.C. § 1331 and are claims which may be removed to this Court by
  7   defendant pursuant to the provisions of 28 U.S.C. § 1441(a), in that it arises under
  8   Title II of the ADA and 42 U.S.C. § 12131 et seq. and pursuant to 29 U.S.C. § 794.
  9         4.     This action also includes as its Third Cause of Action a state claim
10    for the violation of California Civil Code § 54 against all defendants. This cause
11    of action is related to plaintiff’s First and Second causes of action, such that they
12    form part of the same case or controversy under Article III of the United States
13    Constitution. This Court has supplemental jurisdiction over such claims under 28
14    U.S.C § 1367(a).
15          5.     The City of West Covina and Foothill Transit Agency (sic) are the
16    only named defendants in the complaint. Plaintiff has since filed a dismissal of
17    the City of West Covina. The dismissal without prejudice of defendant City of
18    West Covina submitted by plaintiff, and entered by the state court on February 4,
19    2022, is attached hereto as Exhibit “C.” Because defendant City of West Covina
20    was not served and has now been dismissed from the state court action it has not
21    been requested to consent to this removal.
22          6.     Attached as Exhibit “D” is a true and correct copy of the filed Answer
23    of Defendant Foothill Transit Agency to plaintiff’s Verified Complaint.
24    Dated: February 25, 2022                     Dean Gazzo Roistacher LLP
                                              By: /s/ Scott Noya
25
                                                   Scott Noya
26                                                 Attorneys for Defendant
                                                   Foothill Transit (erroneously sued as
27
                                                   “Foothill Transit Agency”)
28
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              EXHIBIT ‘A’
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                                                     (CITACION JUDICIAL)                                                                                                       (SOLO PARA USO DE LA CORTE)
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                  TO DEFENDANT:
          NOTICE TO  DEFENDANT:
          (AVISO AL DEMANDADO);
          (AV/SO AL DEMANDADO):
          CITY OF
          CITY     WEST COVINA,
               OF WEST            FOOTHILL TRANSIT
                          COVINA, FOOTHJLL         AGENCY, AND
                                           TRANSIT AGENCY, AND
                1-10, INCLUSIVE
          DOES I-10,
          DOES        INCLUSIVE
      YOU   ARE BEING
       YOU ARE             BY PLAINTIFF:
                      SUED BY
                BEING SUED     PLAINTIFF:
      (LO
       (LO ESTA DEMANDANDO EL
           ESTA DEMANDANDO       DEMANDANTE):
                              EL DEMANDANTE):
          GABRIELA CABRERA
          GABRIELA CABRERA

        NOTICE! bu
       NOTICE!         Youhave havebeenbeensued. sued.The       courtmay
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                  Telephone: 310-779-2348
              44 Email:
                  Email: DaytonMagallanes@Yahoo.com
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              66       Gabriela Cabrera
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  1I             and Foothill Transit Agency ("FTA") have and continue to discriminate against her based
  2
                 on her
                 on her disability and in
                        disability and              of federal
                                          violation of
                                       in violation            and state
                                                       federal and       anti-discrimination statutes.
                                                                   state anti-discrimination statutes.
  33
         .
       .22       Specifically, Plaintiff
                 Specifically, Plaintiff alleges that Defendants
                                         alleges that                 failed and/or
                                                                 have failed
                                                      Defendants have               refused to
                                                                             and/or refused to properly
                                                                                               properly
  44
  55             maintain, construct,
                 maintain,            or alter
                           construct, or        the bus
                                         alter the  bus stop on Valley
                                                        stop on        near the
                                                                Valley near       intersection of
                                                                             the intersection     Nogales ("Bus
                                                                                               ofNogales   ("Bus

  66
  77
  8
       I.   3.
                 Stop") such
                 Stop")



                 been,
                               that this
                         such that

                         ofDefendants'
                 Because of
                 Because
                                     this stop



                            will continue
                        and will
                 been, and
                                         failure to
                            Defendants' failure
                                                    completely inaccessible
                                          stop isis completely

                                                     guarantee the
                                                  to guarantee

                                               be, denied
                                            to be,
                                  continue to              full and
                                                   denied full
                                                                                 her as
                                                                              to her
                                                                inaccessible to

                                                                     accessibility of
                                                                the accessibility

                                                                      equal access
                                                                 and equal
                                                                                   ofthe
                                                                                           wheelchair user.
                                                                                     as aa wheelchair

                                                                                          bus stop
                                                                                      the bus
                                                                                                      user.

                                                                                                     Plaintiffhas
                                                                                               stop,,Plaintiff

                                                                                      Defendants' service
                                                                                    toDefendants
                                                                             accessto                     s,
                                                                                                   services,
                                                                                                               has


  99
 10
 10              programs,        activities, all
                             and activities,
                  programs, and                            detrimentand
                                                       herdetriment
                                               alltotoher            anddamage.
                                                                         damage.

1111        4.   Through this lawsuit,
                 Throughthis                      seeksan
                                        Plaintiffseeks
                               lawsuit,Plaintiff                      requiringDefendants
                                                           injunctionrequiring
                                                        aninjunction           Defendantsto  provideher
                                                                                          toprovide  her
 12
 12               "fulland
                 "full  andequal"             theBus
                                   accesstotothe
                            equal"access             Stopas
                                                 BusStop  asrequired  bylaw.
                                                             requiredby                 alsoseeks
                                                                              Plaintiffalso
                                                                         law.Plaintiff       seeksdamages
                                                                                                   damages
 13
 13     !


                  andreasonable
                 and             attorneys' fees,
                      reasonableattorneys'         costs,and
                                             fees,costs,                 expensesfor
                                                              litigationexpenses
                                                          andlitigation                         herc1yl
                                                                                      enforcingher
                                                                                  forenforcing      civil
 14
 14

 15
 15               rights.
                  rights.

 16
 16                                               LITIGATINGPARTIES
                                                 LITIGATING  PARTIES
 17
 17
            5.              residesininCalifornia
                  Plaintiffresides
                 Plaintiff              Californiawith  physicaldisabilities.
                                                   withphysical                    sufferswith
                                                                               Shesuffers
                                                                 disabilities.She          withpolio  andcannot
                                                                                                polioand  cannot
 18
 18
                  walk.She
                 walk.      requiresthe
                        Sherequires      useof
                                     theuse       wheelchairfor
                                             ofaawheelchair  formobility  wherevershe
                                                                 mobilitywherever  shegoes          sheisis
                                                                                            becauseshe
                                                                                       goesbecause
 19
                             standororwalk
                  unabletotostand
                 unable                walkindependent     assistanceand
                                                        ofassistance
                                            independentof             andrequires     wheelchairfor
                                                                          requiresa awheelchair  for
 20
                            Plaintiffisisatatallalltimes
                  movement.Plaintiff
                 movement.                                          herein,a a"qualified
                                                           relevantherein,
                                                     timesrelevant                        personwith
                                                                               "qualifiedperson  witha adisability"
                                                                                                         disability"
 21
 21
                 and     "physicallydisabled
                  anda a"physically           person,"asasthose
                                     disabledperson,"                  aredefined
                                                                 termsare
                                                           thoseterms              underthe
                                                                           definedunder          anditsits
                                                                                             ADAand
                                                                                         theADA
 22
 22
                                           (42U.S.C.               C.FR.§ $35.104),
                                                      § 12102;2828C.F.R.
                                               U.S.C.$12102;                         Section504
                                                                            35.104),Section
                 implementing  regulations(42
                  implementingregulations                                                    504(29
                                                                                                 (29
 23               U.S.C.§ §794)
                 U.S.C.          andCalifornia
                            794)and              law(Cal.
                                     Californialaw              Code$ $12926).
                                                           Gov.Code
                                                     (Cal.Gov.          12926).
 24
 24         6.   Defendants  CityofofJurupa
                  DefendantsCity      JurupaValley  andRiverside
                                             Valleyand            Transitare
                                                        RiversideTransit                        relevanttotoherein,
                                                                                         timesrelevant
                                                                          areatatallalltimes                 herein,
 25
 25              political   subdivisionsofofthe
                  politicalsubdivisions            StateofofCalifornia.
                                               theState      California.
2626        7.    Plaintiffisisinformed
                 Plaintiff                andbelieves
                                 informedand            thateach
                                              believesthat            theDefendants
                                                                    the
                                                             eachofof     Defendantsherein,   includingDoes
                                                                                     herein,including   Doesl-1-
 27              10,10,mclusrve,       accountableIninsome
                        inclusive,isisaccountable       somecapacity        theevents
                                                                       forthe
                                                             capacityfor                        herein,ororisisa a
                                                                                        allegedhere
                                                                                eventsalleged

 28                                                        2
                            Verified  ComplaintFor
                             VerifiedComplaint  ForDamages   andPermanent
                                                    Damagesand              InjunctiveRelief
                                                                 PermanentInjunctive   Relief
            Case Case
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  11
                                           for obtaining propcr
                           necessary party far           proper relief. Plaintiff may seek leave to amend if and when
  22
                           the true names, capacities, connections, or responsibilities of the Defendants and Does I1
  33                       through 10, inclusive, are determined.
  44 8.
      8.                   Plaintiff is informed
                           Plaintiffis               believes that each of the Defendants is the agent, ostensible
                                                 and believes
                                        informed and
  55                       agent, alter
                           agent, alter ego, master, servant,
                                        ego, master,          trustor, trustee,
                                                     servant, trustor, trustee, employer, employee, representative,
  6                                    franchisee, lessor,
                           franchiser, franchisee,
                           franchiser,              lessor, lessee,        venture, parent,
                                                                     joint venture,
                                                             lessee, Joint                              affiliate, related
                                                                                            subsidiary, affiliate,
                                                                                    parent, subsidiary,            related
  77                       entity  partner,,and/or
                           entity,,partner          associate, or
                                             and/or associate,    such si
                                                               or such   lar
                                                                       similar capacity, of
                                                                          m capacity,       each of
                                                                                         of each        other Defendants,
                                                                                                    the other
                                                                                                 ofthe        Defendants,
            I

  88                       and was
                           and        all times
                                   at all
                               was at            acting and
                                           times acting     performing, or
                                                        and performing,     failing to
                                                                        or failing      act or
                                                                                     to act    perform, within
                                                                                            or perform,         the course
                                                                                                        within the  course
  99                       and scope
                           and        ofsuch
                                scope of               aforementioned capacities,
                                               similar aforementioned
                                         such similar                             and with
                                                                      capacities, and           authorization, consent,
                                                                                            the authorization,
                                                                                      with the                 consent,
 10
 10                        permission, orratification
                           permission, or              ofeach
                                          ratification of      ofthe
                                                          each of     other Defendants,
                                                                  the other             and 1sis personally
                                                                            Defendants, and      personally responsible
                                                                                                             responsible

 11                         in some
                           in        manner for
                                some manner      the acts
                                             forthe         and omissions
                                                      acts and             ofthe
                                                                 omissions of     otherDefendants
                                                                              the other Defendants in
                                                                                                    in proximately
                                                                                                       proximately

 12                        causing     violations and
                                    theviolations
                            causingthe             and damages   complainedherein,
                                                        damages complained         and have
                                                                           herein, and      participated, directed,
                                                                                       haveparticipated,  directed,

 13
                            andhave
                           and        ostensibly and/or
                                have ostensibly          directly approved
                                                  and/ordirectly            orratified
                                                                   approved or           each of
                                                                               ratified each          acts or
                                                                                                 the acts
                                                                                              ofthe            omissions of
                                                                                                            or misglons   of
                            eachof
                           each     theother
                                 ofthe       Defendants, as
                                        otherDefendants,     hereindescribed.
                                                          asherein  described.
 14
 14             I



 15    I
                                                         COURTJURISDICTION
                                                         COURT JURISDICTION
 15    '1


 16                 9.     Does
                           Does 1-10  aresued
                                 1-10are       pursuanttotoCode
                                          suedpursuant              CivilProcedure
                                                                 ofCivil
                                                            Codeof                  section474.
                                                                          Proceduresection  474.
 17
 17
                                                         ALLEGEDFACTS
                                                         ALLEGED FACTS
 18
 19                 0.
                    10.               residesininthe
                            Plaintiffresides
                           Plaintiff              theCity    WestCovina.
                                                           ofWest
                                                      Cityof      Covina.

2020                1.
                    11.               requiresuse
                            Plaintiffrequires
                           Plaintiff               ofaawheelchair
                                               useof                   getaround.
                                                        wheelchairtotoget  around.
 21
 21
                    2.
                    12.    Plaitiff        notdrve
                                      doesnot
                            Plaintiffdoes            anduses
                                               driveand              transportationtototravel
                                                              publictransportation
                                                         usespublic                                   thecommunt
                                                                                               aroundthe
                                                                                        travelaround              y
                                                                                                          community.
 22
                    313.    Plaintiffwas
                           Plaitiff                 towardsCal
                                          travelingtowards
                                      wastravelig               PolyPomona
                                                            CalPoly         andneeded
                                                                     Pomonaand                 thebu
                                                                                           usethe
                                                                                neededtotouse        s
                                                                                                   bus.
 23
 23
                      .
                    414.    Plaintiffuses
                           Plaintiff           number194
                                           busnumber
                                      usesbus                 headtotoher
                                                      194totohead          intendeddestination.
                                                                       herintended  destination.
 24
 24
2525                5.
                    15.    Plaintiff  wasininthe
                            Plaintiffwas      thegeographic           theDefendant's
                                                             areaofofthe
                                                  geographicarea                      publicaccommodation
                                                                          Defendant'spublic  accommodationbecause
                                                                                                           because

 26
 26                        shelives
                           ke   livesnearby.
                                      nearby.
 27
 28
 28                                                               33
                                   Verified  ComplaintFor
                                    VerifiedComplaint      Damagesand
                                                       ForDamages    andPermanent  InjunctiveRelief
                                                                         PermanentInjunctive  Relief
                       Case Case
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     I1                16.    This
                              This complaint
                                   complaint is filed on
                                             is filed on behalf
                                                         behalf of
                                                                of aa high frequency litigant. For
                                                                           frequency litigant      the pertinent
                                                                                               For the pertinent statutory
                                                                                                                 statutory
     2
                              period, 35
                              period,                          accessibility claims have been filed.
                                      3 5 construction related accessibility                  filed .
 . 33
 !

  44 17.
      17.                     Bus
                              Bus number
                                  number 194
                                         194 stops
                                             stops at
                                                   at the
                                                      the Bus Stop to
                                                          Bus Stop    drop off
                                                                   to drop off and
                                                                               and pick up bus
                                                                                   pick up bus riders, including
                                                                                                       including

  55
               I

                              Plaintiff,
                              Plaintiff, at
                                         at the
                                            the location
                                                location of Valley Blvd.
                                                         ofValley  Blvd. and Nogales Street.
                                                                         and Nogales Street.
     66
                       18.
                        18.   On
                              On information
                                  information and
                                              and belief,
                                                  belief, at
                                                          at all
                                                             all times
                                                                  times relevant
                                                                        relevant herein,
                                                                                 herein, the
                                                                                         the City owned, canalled
                                                                                             City owned  controlled,
     7                                                                                                    '            '
                              maintained,
                              maintained, and
                                          and exercised
                                              exercised dominion
                                                        dominion over
                                                                 over the
                                                                       the Bus
                                                                           Bus Stop.
                                                                               Stop.
     8

 99                    19.
                        19.   On
                              On information
                                  information and
                                              and belief,
                                                  belief, at
                                                          at all
                                                             all times
                                                                  times relevant
                                                                         relevant herein,
                                                                                  herein, FTA
                                                                                          FTA owned,
                                                                                              owned, controll ad,
                                                                                                     controlled,

 10
 10                           maintained,
                              maintained, and
                                          and exercised
                                               exercised dominion
                                                         dominion over
                                                                  over the
                                                                        the Bus
                                                                            Bus Stop.
                                                                                Stop.
 11
 11                '

                        0.
                       20.    The
                              The bus   stop lacks
                                   bus stop   lacks an
                                                     an accessible boarding and
                                                         accessibleboarding     unloading area.
                                                                            and unloading area. The
                                                                                                The features
                                                                                                     features that
                                                                                                               that make
                                                                                                                    make the
                                                                                                                          the
 12       11

                              Bus
                              Bus Stop
                                   Stop inaccessible
                                         inaccessibleto
                                                      to wheelchair
                                                         wheelchairusers
                                                                    users include:
                                                                           include:
 13
 14                           a.a. The
                                   Theboarding
                                       boardingand
                                                andunloading
                                                    unloadingarea
                                                              arealacks
                                                                   lacks appropriate
                                                                          appropriatesidewalk
                                                                                      sidewalkwidth dueto
                                                                                              widthdue  toplacement
                                                                                                           placement

 15                              of
                                  ofaachain
                                       chainlink
                                             linkfence,
                                                  fence,bus
                                                         busbench,
                                                             bench, and  trashcan,
                                                                     andtrash  can,to
                                                                                    toallow
                                                                                       allowPlaintiff
                                                                                             Plaintiff totoboar
                                                                                                            boardbus
                                                                                                                  buswhen
                                                                                                                     when
 16
                                 the
                                  thebus
                                      busramp
                                          rampisisengaged
                                                   engageddue
                                                           duetotothe
                                                                   theaforementioned
                                                                       aforementionedbarriers,
                                                                                      barriers,thereby  precluding
                                                                                                therebyprecruding
 17
                                 Plaintiff
                                  Plaintifffrom
                                            fromboarding
                                                 boardingororaccessing
                                                              accessingthe
                                                                        thebus  stopfrom
                                                                            busstop  fromher
                                                                                          herseated
                                                                                              seatedwheelchair
                                                                                                    wheelchairposition;
                                                                                                               position;
 18
 19 ,
 19                           b.b. The
                                    Thenearby
                                        nearbysurrounding  "pathway"areas
                                               surrounding"pathway'  areasconsist
                                                                           consistof
                                                                                   ofdirt
                                                                                      dirtand  gravelthat
                                                                                           andgravel  thatare
                                                                                                           areneither
                                                                                                               neither

 20
 20                              level
                                  levelnor
                                        norstable
                                            stablefor
                                                   forPlaintiff
                                                       Plaintifftototraverse
                                                                     traversetotoanother
                                                                                  anotherbus  stophalf
                                                                                          busstop  halfaamile  awayininher
                                                                                                          mileawa       her
 21
                                 wheelchair,
                                  wheelchair,thereby
                                              therebyleaving
                                                      leavingher
                                                              herwith
                                                                  withthe
                                                                       thealternative
                                                                           alternativeof
                                                                                       ofwaiting
                                                                                          waitingfor
                                                                                                  forthe
                                                                                                      thebus
                                                                                                          busininthe
                                                                                                                  the
 22
                                 middle
                                  middleof
                                         ofthe
                                            thestreet  andininthe
                                                streetand      theline
                                                                    lineof
                                                                         ofvehicular
                                                                            vehiculartraffic
                                                                                      trafficorortraversing
                                                                                                  traversingininher
                                                                                                                 herwhelchaIr
                                                                                                                     wheelchair
 23
 23

 24
 24                              totothe
                                      thenearest
                                          nearestavailable
                                                  availablebus
                                                            busstop.
                                                                stop.

2525                   1.
                       21.    On
                               Onororabout
                                      aboutthe
                                            thedate
                                                dateofofAugust
                                                         August16,  2021,Plaintiff
                                                                16,2021,  Plaintiffintended
                                                                                    intendedtotouse
                                                                                                 usethe
                                                                                                     thebus  stoptotohead
                                                                                                         busst,       head
 26
                              towards
                               towardsCal
                                       CalPoly
                                           PolyPomona,
                                                Pomona,by  usingbus
                                                        byusing  busnumber
                                                                     number194
                                                                            194but
                                                                                butwas
                                                                                    wasunable
                                                                                        unabletotouse
                                                                                                   usethis
                                                                                                       thisbu,
                                                                                                            busstop
                                                                                                                stop
 27
 2
 28
 28                                                                  4
                                      Verified  ComplaintFor
                                       VerifiedComplaint  ForDamages
                                                              Damagesand
                                                                       andPermanent   InjunctiveRelief
                                                                           PermanentInjunctive   Relief
                Case Case
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  11                      due to the aforementioned barriers,
                                                    barriers. Plaintiff intended to use the bus but was forced to
 22
                          make alternate
                          make alternate arrangements due to
                                         arrangements due    the extreme
                                                          to the         distance and
                                                                 extreme distance     difficulty Plaintirrwaud
                                                                                  and difficulp, Plaintiff would
  33
                          have had in
                          have had in traversing this bus
                                      traversing this     stop in
                                                      bus stop  in her manual wheelchair.
                                                                   her manual wheelchair.
  44   1y
            I


        I

        2.
  55 /222.                Plaintiffs difficult
                          Plaintiffs           experiences using
                                     difficult experiences        the Bus
                                                           using the      Stop have
                                                                      Bus Stop      caused her
                                                                               have caused her difficul,,
                                                                                               difficulty, d1,comfort,
                                                                                                           discomfort,

  66                      embarrassment, and frustration.
                          embarrassment, and  frustration.
  77
                23.
                23.       Plaintiff filed aa claim
                          Plaintifffiled                 with the
                                                    form wIth
                                             claim form        the City ofWest
                                                                   City of      Covina on
                                                                           West Covina    or about
                                                                                       on or       September lo,
                                                                                             about September  10,
  88
                          2021,
                          2021, mailing     viacertified
                                mailing ititvia           mail. Plaintiff
                                                certified mail.                 filedaaclaim
                                                                          also filed
                                                                Plaintiffalso                      withFoothll
                                                                                               formwith
                                                                                        claim form      FoothillTran,it
                                                                                                                Transit
  99
                          Agency on
                          Agency     or about
                                  onor                22,2021,
                                              October22
                                         aboutOctober     2021, also
                                                                 alsomailing          n~a
                                                                     mailingitit viacertified
                                                                                     certifiedma1l.
                                                                                              mail.
 10'
 10
1111                4.
                    24.    Plaintiffcontends
                          Plaintiff               Defendantshave
                                              thatDefendants
                                     contendsthat                 failedto
                                                             havefailed     ensurethe
                                                                         toensure      accessibility Of
                                                                                   theaccessibli,,,   ofthe
                                                                                                         theBus
                                                                                                            BusStop,
                                                                                                                Stop,
 12
                           andininso
                          and         doinghave
                                   sodoing       failedtotoguarantee
                                            havefailed                herequal
                                                            guaranteeher        accesstotoand
                                                                          equalaccess            usofthe
                                                                                           and use«f  theserve°s,
                                                                                                          services,
 13
                           activities,and
                          activities,      programsthey
                                       andprograms       providetotothe
                                                    theyprovide          publicby
                                                                     thepublic         throughth
                                                                                   andthrough
                                                                                byand          theBug,
                                                                                                   Bus$!oP,
                                                                                                       Stop,viola0g
                                                                                                             violating
 14
 15
 15                       Federal      Statelaw.
                                   andState
                           Federaland        law.

1616                25.
                    )5.   Based  oninformation
                           Basedon              andbelief
                                    informationand          theBus
                                                    belief,the  BusStop  hasundergone
                                                                    Stophas            constructionand/or
                                                                             undergoneconstruct~n   and/or
 17
 17
                           alterationsince
                          alteration        January1,1,1982,
                                      sinceJanuary                       applicableCalifornia
                                                              triggeringapplicable
                                                        1982,triggering                        accessibilitystandards,
                                                                                    Californiaaccessibility  standards,
 18             I


                                      Codeof
                           CaliforniaCode
                          California          Regulation,Title
                                           ofRegulation,            Onthis
                                                                24.On
                                                          Title24.          basis,Plaintiff
                                                                       thisbass,             allegesthat
                                                                                   Plaintiffalleges        fendants
                                                                                                     thatDDefendants
 19
 19             I




 20
 20                        havefailed
                          have             complywith
                                failedtotocomply             standardsby
                                                       thesestandards
                                                  withthese               failingtotoprovide
                                                                       byfailing      provideananaccess1bl
                                                                                                  accessiblebu,
                                                                                                             bus

 21
 21                        boardingand
                          boarding  andunloading  areaatatthe
                                        unloadingarea      theBus
                                                               BusStop.
                                                                   Stop.
 22
 22
                    6.              informationand
                         Basedononinformation
                    26. Based                               theBus
                                                    belief,the
                                                andbelief,               hasundergone
                                                                    Stophas
                                                                BusStop      undergoneconstruc,ion
                                                                                       constructionand/or
                                                                                                    and/or
 23
 23
                            alterationsince
                          alteration          January1,1,1992,
                                        sinceJanuary              triggeringapplicable
                                                           1992,triggering                  Standardsfor
                                                                                        ADAStandards
                                                                             applicableADA             forA,cess1bl
                                                                                                           Accessible
 24
 24
 25
 25                       Design  (ADAStandards),
                           Design(ADA                  C.F.R..R.pt.pt.36,
                                       Standards),2828C.F                  app.D.D.On
                                                                       36,app.          thisbasis,
                                                                                    Onthis                     allegesthat
                                                                                                    Plaintiffalleges
                                                                                             basis,Plaintiff            that

 26                                   havefailed
                           Defendantshave
                          Defendants                          withthese
                                                       complywith
                                            failedtotocomply               standardsbybyfailing
                                                                    thesestandards                    provideananaccess1ble
                                                                                          failingtotoprovde       accessible

 27
 27
                          bus  boardingand
                           busboarding                 areaatatthe
                                            unloadingarea
                                        andunloading                 BusStop.
                                                                 theBus   Stop.
 28
 28                                                                      55
                                  Verified  ComplaintFor
                                   VerifiedComplaint      Damagesand
                                                      ForDamages  andPermanent   InjunctiveRelief
                                                                      PermanentInjunctive   Relief
      CaseCase
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                                                                                 ID #:47



11        27.
          27.   Plaintiff
                Plaintiff intends
                          intends to
                                  to use
                                     use the
                                         the Bus Stop to
                                             Bus Stop to travel
                                                         travel in
                                                                in the
                                                                   the future,
                                                                       future, and
                                                                               and would
                                                                                   would like
                                                                                         like to
                                                                                              to do
                                                                                                 do so
                                                                                                    so self-
                                                                                                       self-
22
                sufficiently and
                sufficiently and without encountering the
                                 without encountering the above-
                                                          above- described
                                                                 described accessibility
                                                                           accessibility barriers.
                                                                                         barriers.
33
          28.   Until
                Until said
                      said barriers
                           barriers to
                                    to the accessibility of
                                       the accessibility ofthe  Bus Stop
                                                            the Bus Stop are
                                                                         are removed,
                                                                             removed, and
                                                                                      and Defendants'
                                                                                          Defendants'
4

55              unlawful
                unlawful and
                         and discriminatory policies and
                             discriminatory policies     practices regarding
                                                     and practices regarding the
                                                                              the construction,
                                                                                  construction, alteration,
                                                                                                alteration,

66              and/or
                and/or maintenance
                       maintenance of
                                   ofbus   stops are
                                      bus stops      changed, Plaintiff
                                                 are changed, Plaintiffwill
                                                                        will continue
                                                                             continue to
                                                                                       to be
                                                                                          be denied
                                                                                             denied full
                                                                                                     full and
                                                                                                          and
77
                equal
                equal access
                      access to
                              to Defendants'
                                 Defendants' activities,  programs, and
                                              activities, programs, and services,  and will
                                                                         services, and will suffer
                                                                                             suffer continued
                                                                                                     continued
 88
                discrimination
                discrimination and
                                and damages
                                     damages as
                                              as aaresult.
                                                    result.
99
10
10         9.
          29.   The
                Thenature
                    natureof
                           ofDefendants'
                             Defendants' discrimination
                                          discriminationconstitutes
                                                         constitutes an
                                                                      an ongoing
                                                                          ongoingviolation,
                                                                                  violation, and
                                                                                              andunless
                                                                                                  unless

11              enjoined  bythis
                 enjoinedby  this Court,
                                  Court,will  resultininongoing
                                         willresult      ongoingand
                                                                 andirreparable  injuryto
                                                                     irreparableinjury  toPlaintiff,
                                                                                           Plaintiff,that
                                                                                                      thatisis

12
                incalculable
                 incalculableininmonetary
                                 monetaryremedies.
                                          remedies.Plaintiff
                                                    Plaintiffhas
                                                              hasno  adequateremedy
                                                                  noadequate  remedyatatlaw
                                                                                         lawbecause
                                                                                             because
13
                monetary
                monetarydamages,
                         damages,will
                                 willnot  provideadequate
                                      notprovide  adequaterelief
                                                           relieffor
                                                                  forthe
                                                                      theharm
                                                                          harmcaused
                                                                               causedby
                                                                                      bythe
                                                                                         the
14
                continuation
                 continuationof
                              ofthe  wrongfulconduct
                                 thewrongful  conductof
                                                      ofDefendants
                                                         Defendantsand
                                                                    andthe
                                                                        thedenial
                                                                            denialof
                                                                                   ofher
                                                                                      hercivil  rightsasas
                                                                                          civilrights
15
16
16               allegedherein.
                alleged          Accordingly,Plaintiff
                         herein.Accordingly,  Plaintiffisisentitled
                                                            entitledtotoinjunctive
                                                                         injunctiverelief.
                                                                                    relief.

17
                                      GOVERNMENT
                                       GOVERNMENTCLAIM:
                                                  CLAIMFILED
                                                        FILED
18
18
                               (As
                                (Astotoclaims
                                        claimsfor  damagesunder
                                               fordamages        CaliforniaState
                                                           underCalifornia  StateLaw)
                                                                                  Law)
19
19
20
20        0.
          30.   Plaintiff   timelyfiled
                 Plaintifftimely    fileda aclaim  pursuantto§
                                             claimpursuant  to§910
                                                                910etetseq.
                                                                        seq.ofofthe
                                                                                 theCalifornia
                                                                                     CaliforniaGovernment
                                                                                                GovernmentCode
                                                                                                           Code

21
21    I
                with
                 withthe  Cityon
                      theCity  onororabout  September10,
                                      aboutSeptember  10,2021.
                                                          2021.This
                                                                Thisclaim
                                                                     claimwas  rejectedby
                                                                           wasrejected  bythe  Cityofof
                                                                                           theCity

22
22
                West
                 WestCovina      operationoflaw
                      Covinabybyoperation             October25,
                                           of lawononOctober  25,2021.
                                                                  2021.
23
          1.
          31.   Plaintiff
                 Plaintifftimely    fileda aclaim
                            timelyfiled            pursuantto§
                                             claimpursuant   to§910
                                                                 910etetseq.
                                                                         seq.ofofthe
                                                                                   theCalifornia
                                                                                       CaliforniaGovernment
                                                                                                  GovernmentCode
                                                                                                             Code
24
24
                 withFTA
                with  FTAononororabout
                                  aboutOctober
                                        October22,
                                                22,2021.
                                                    2021.This
                                                          Thisclaim
                                                                claimwas   rejectedbybyRTA
                                                                      wasrejected               operationofof
                                                                                        RTAbybyoperation
25
25
                action
                 actionononororabout
                                aboutNovember
                                      November15,
                                                15,2021.
                                                    2021.
26
27
28                                                     66
                        Verified  ComplaintFor
                         VerifiedComplaint      Damagesand
                                            ForDamages    andPermanent
                                                              PermanentInjunctive
                                                                         InjunctiveRelief
                                                                                    Relief
           CaseCase
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 11                                                  FIRST CAUSE
                                                     FIRST CAUSE OF
                                                                 OF ACTION
                                                                    ACTION
 22
                                         Title II
                                         Title Il of
                                                  of the Americans with
                                                     the Americans      Disabilities Act
                                                                   with Disabilities Act
 3
                                                          U..C. $§ 12131
                                                       42 U.S.C.
                                                       42                et seq.
                                                                   12131 et seq.
 44

 55        32.
           32.            ofthe
                     Each of
                     Each        foregoing paragraphs
                             the foregoing                               herein by
                                                            incorporated herein
                                           paragraphs isis incorporated         by reference.
                                                                                   reference.

 66 33.
    33.              Title      ofthe
                     Title IIII of     ADA provides
                                   the ADA           in pertinent
                                           provides in  pertinent part; "[N]o qualified
                                                                  part: "[N]o                       with aa disability
                                                                                         individual wth
                                                                              qualified individual          disability
 77                   shall, by
                     shall,             ofsuch
                                 reason of
                             by reason          disability, be
                                           such disability,    excluded from
                                                            be excluded  fromparticipation  in or
                                                                             participation in        denied the
                                                                                                  be denied
                                                                                               orbe          the
  8
                     benefits ofservices,
                     benefits of services, programs, or activities
                                           programs, or                   publicentity,
                                                                     ofaapublic
                                                         activities of                    orbe
                                                                                 entity, or     subjectedto
                                                                                            be subjected  to
  99
10
10                   discrimination  by any
                      discriminationby   anysuch   entity."42
                                             such entity."    U.S.C. §§ 12132.
                                                            42U.S.C.     12132.

11
 11            34.
               34.   Defendantshave
                     Defendants              timesmentioned
                                         alltimes
                                haveatatall                 hereinbeen
                                                  mentionedherein       publicentities
                                                                   beenpublic          withinthe
                                                                               entitieswithin    meaningOf
                                                                                              themeaning of
12
12
                      TitleIIIIof
                     Title         theADA.
                                ofthe ADA.
13
13
               35.   Bus
                      Busstops  areaaprogram,
                          stopsare             service,and/or
                                      program,service,         activityDefendants
                                                        and/oractivity             offertotothe
                                                                        Defendantsoffer          publicatatlarge
                                                                                             thepublic      large.
14
14

15
15             36.   Atall
                     At     timesrelevant
                        alltimes                  Plaintiffwas
                                           hereinPlant1ff
                                  relevantherein                qualifiedtotouse
                                                            wasqualified          theBus
                                                                              usethe      Stop,and
                                                                                      BusStop,     metthe
                                                                                                andmet the

 16                  essential  eligibilityrequirements
                      essentialeligibility                   useof
                                                         foruse
                                            requirementsfor             BusStop.
                                                                    theBus
                                                                 ofthe      Stop.
 17            7.
               37.    Defendants'acts
                     Defendants'       andomissions
                                  actsand            allegedherein
                                           omissionsalleged         havedenied
                                                             hereinhave         Plaintiffthe
                                                                         deniedPlaintiff  thebenefits
                                                                                              benefitsand
                                                                                                       anduses
                                                                                                           uses
 18
 18    I

                              BusStop,
                          theBus
                     ofofthe                violationof
                                  Stop,ininviolation               anditsitsimplementing
                                                         TitleIIIIand
                                                      ofTitle                             regulations.The
                                                                             implementingregulations.  TheDefendants'
                                                                                                           Defendants'
 19
                      discriminatoryconduct
                     discriminatory                     interalia:
                                             includes,inter
                                     conductincludes,         alia:
20
21
21
                                                                                                  such(a'ts
       '             a.a. Failing              construct,and/or
                                       design,construct,
                           Failingtotodesign,                          theBus
                                                                 alterthe
                                                          and/oralter          Stopinina amanner
                                                                           BusStop         mannerguch  that it is
22
22                       readily                 andusable
                                  accessibletotoand
                          readilyaccessible                      individualswith
                                                     usablebybyindividuals                      whenthe
                                                                                  disabilities,when
                                                                             withdisabilities,        the
23                        construction/alterationwas
                         construction/alteration                afterJanuary
                                                      commencedafter
                                                  wascommenced                26,1992(28
                                                                      January26,          C.F.RR $ 35.15D)
                                                                                  1992 (28C.FR.$    35.151);
24
24                   b.b. Failing               theBus
                                       operatethe
                           Failingtotooperate       BusStop                               accessibletotoand
                                                                                 "readilyaccessible
                                                                  thatit itisis·readily
                                                        Stopsosothat                                     andusable
                                                                                                             usablebyby
25                         individualswith
                         individuals                             C.F.R.$ $35.150(a));
                                                             (28C.F.R.
                                            disabilities." (28
                                       withdisabilities."                  35.150(a));
26
 27
 27
 28        I
                                                                      7
                              Verified  ComplaintFor
                               VerifiedComplaint  ForDamages   andPermanent
                                                      Damagesand              InjunctiveRelief
                                                                   PermanentInjunctive   Relief
                  CaseCase
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1
1                                             the opportunity to participate i
                         c. Denying Plaintiff th                                or heeft
                                                                             in r  benefit fm
                                                                                           from the aids, amenities,
2
                             or
                             or services
                                services offered
                                         offered by
                                                 by Defendants to the public, on the basis of her disabilities (28
33
                            C.F.R.
                            C.F.R. §§ 35.130(b)(l)(ii));
                                      35.130(b)(l)(ii));
44
55        '              d. Providing Plaintiff
                         d. Providing           opportunity to
                                      Plaintiffopportunity      participate in
                                                             to participate  in or
                                                                                or benefit
                                                                                   benefit from
                                                                                           from the
                                                                                                 the aids
                                                                                                     aids,,amenities
                                                                                                           amenities,.or
                                                                                                                      or

6                           services
                             services offered by Defendants
                                      offered by Defendants to
                                                             to members
                                                                members of
                                                                        ofthe          that 1sis not
                                                                               public that
                                                                           the public                            o
                                                                                                     equal to that
                                                                                                 not equal     that
77
                            afforded
                             afforded her
                                      her ambulatory peers (28
                                          ambulatory peers      C.F.R $§ 35.130(b)(1)!i))
                                                            (28 CF.R.    35.130(b)(l)!ii));
 8
                             Otherwise limiting
                        e.e. Otherwise          Plaintiffin
                                        limitingPlaintiff inthe   enjoymentof
                                                             the enjoyment  ofany
                                                                               any right,
                                                                                    right, privilege,
                                                                                           privilege, advantage,
                                                                                                       advantage,
 99

10
10                          benefit,
                             benefit, or
                                       oropportunity          byothers
                                                      enjoyedby
                                          opportunityenjoyed             receivingthe
                                                                 others receiving  the aids,
                                                                                        aids, amen1ttes,
                                                                                               amenities, or  services
                                                                                                           orservice,

11
11                           offeredby
                            offered  byDefendants
                                       Defendantstotomembers
                                                     membersof the public
                                                             ofthe         (28CF
                                                                    public(28     R_ $§ 3530(b)1(vii);
                                                                               C.F.R.    35.130(b)(l)(vii));
12
                        f.f. Employing
                              Employingmethods
                                       methodsof
                                               ofadministration
                                                  administrationthat
                                                                 thateffectively  subjectPlaintiff
                                                                      effectivelysubject  Plaintiffto
                                                                                                    to
13
13
                            discrimination
                             discriminationdue      herdisability
                                            duetotoher  disability(28  C.F.R.$$35
                                                                   (28CF.R.       130(b)(3))) and
                                                                                35.130(b)(3)(i)); and
14
14
15
15                            Failingtotomake
                        g.g. Failing      makereasonable
                                               reasonablemodifications
                                                          modificationsininpolicies,  practices,ororprocedures
                                                                            policies,practices,      procedureswhere
                                                                                                                where
      I



16
16                           necessarytotoavoid
                            necessary      avoiddiscrimination  againstPlaintiff
                                                 discriminationagainst  Plaintiffon
                                                                                  onthe
                                                                                     thebasts
                                                                                         basisof
                                                                                               ofher
                                                                                                  herdisability  (28
                                                                                                      disability(28
17
                             C.F.R.$ §35.130(b)(7)).
                            CF.R.      35.130(b)(7)).
18
18
19
19                8.
                  38.    TitleIIIIrequires
                        Title               publicentities
                                   requirespublic  entitiestotoremove  physicalbarriers
                                                                removephysical  barriersthat
                                                                                         thatlimit
                                                                                               limitorordeny
                                                                                                         denyaccess
                                                                                                              accesstotoa a

                        public  entity'sprograms,
                         publicentity's  programs,services,
                                                   services,and
                                                             andactivities
                                                                 activitiesunder
                                                                            underthe  ADAbybyna
                                                                                  theADA      nolater
                                                                                                  laterthan
                                                                                                        thanJanuary
                                                                                                             January
20
                        26,
                         26,1995.       C.F.R§ $35.lS0(c).
                              1995.2828C.F.R     35.150().Since
                                                           Sinceenactment
                                                                 enactmentofofthe
                                                                                theADA,
                                                                                    ADA,and
                                                                                         andevery  yearthereafter,
                                                                                             everyyear   thereafter,
21
21
                        Defendants'
                         Defendants'have
                                     havefailed
                                          failedtototake   appropriatemeasures
                                                      takeappropriate  measurestotoremove   suchbarriers
                                                                                     removesuch  barrierstotothe
                                                                                                               theBus
                                                                                                                   Bus
22
22
                         Stop,ininviolation
                        Stop,      violationofofthe
                                                  theADA.
                                                      ADA.
23
23
                  9.
                  39. Defendants'
                       Defendants'duties
                                   dutiesunder
                                          underthe
                                                 theADA
                                                     ADAare   mandatoryand
                                                          aremandatory  andlong    recognized.Defendants
                                                                             longrecognized.   Defendantsare
                                                                                                           are
24
                        assumed
                          assumedtotohave
                                      havehad
                                           hadknowledge
                                               knowledgeofof
                                                           their
                                                             theirduties
                                                                   dutiesatatallallrelevant
                                                                                     relevanttimes   herein,their
                                                                                               timesharein           failuretoto
                                                                                                              theirfailure
25
25            I
                                                                                                            '
                        carry
                          carryout
                                outthese
                                     theseduties
                                           dutiesasasalleged
                                                       allegedherein
                                                               hereinwas  willfuland
                                                                      waswillful  andknowing
                                                                                      knowingand/or
                                                                                               and/orthe   productofof
                                                                                                       theprod1t
26
26
                        intentional
                          intentionaland
                                       andwillful
                                           willfulindifference.
                                                    indifference.
27
27
                  40. Pursuant
                       Pursuanttoto4242U.S.C.
                                        U.S.C.§ §12133
                                                   12133and
                                                          and12205,
                                                               12205,Plaintiff   praysforfor
                                                                               prays
                                                                       Plaintiff             judgmentasassetsetforth
                                                                                           judgment              forthbelow.
                                                                                                                        below.
28                                                              88
                                 Verified
                                  VerifiedComplaint
                                           ComplaintFor
                                                     ForDamages
                                                         Damagesand  Permanent
                                                                   and         Injunctive
                                                                       Permanent InjunctiveRelief
                                                                                            Relief
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  1
                                         SECOND CAUSE
                                         SECOND CAUSE OF
                                                      OF ACTION
                                                         ACTION
  2
                                  504 of
                          Section 504
                          Section            Rehabilitation Act
                                         the Rehabilitation
                                      of the                       1973 - 29
                                                                of 1973-
                                                            Act of           U.S.C.$§ 794
                                                                          29 U.s.C.   794
  3
  44   41.
       41.       Plaintiff              by reference
                           incorporates by
                 Plaintiffincorporates                    ofthe
                                                     each of
                                           reference each        foregoing paragraphs.
                                                             the foregoing paragraphs.
  5• ,[42.
       42.        Section 504
                  Section     ofthe
                          504 of     Rehabilitation Act
                                 the Rehabilitation Act provides        "no otherwise
                                                                  that "no
                                                        provides that                 qualified individual
                                                                            otherwise qualified individual
  6                      disability in
                 with aa disability
                 with                in the  United States
                                         the United        ...shall,
                                                    States...         solely by
                                                              shall, solely            ofhis
                                                                                reason of
                                                                             by reason        or her
                                                                                          his or     disability, be
                                                                                                 her disability, be
  7              excluded   from the
                  excluded from       participation in,
                                  the participation      be denied
                                                     in, be         thebenefits
                                                            denied the               or be
                                                                                of,, or
                                                                       benefits of      be subjected
                                                                                            subjected to

  8              discrimination        any program
                                under any
                  discriminationunder      program or
                                                   oractrvity   receiving federal
                                                      activity receiving   federal financial
                                                                                    financial ags1stance."
                                                                                               assistance." 29
                                                                                                            29
  9              U.S.C    794a). See
                       § 794(a).
                 U.S.C.$                    28 C.F.R.
                                       also28
                                  See also     C.F.R.. Part 42, Subpart
                                                       Part42,          G.
                                                                 SubpartG.

 10
 10         3.
           43.   Defendantsreceive
                 Defendants                  financialassistance"
                                    "federalfinancial
                            receive"federal                         inthe
                                                       assistance" in             offederal
                                                                            form of
                                                                       the form               grants and
                                                                                     federal grants   and loans.
                                                                                                           loans.

 11
 11        44.
           4.    Defendants'  actsand
                 Defendants' acts      omissionsas
                                   andomissions     hereinalleged
                                                 asherein          haveexcluded
                                                           allegedhave           and/ordented
                                                                        excludedand/or  deniedPlaintiff
                                                                                               Plaintiff

 12
 12              the          ofand/or
                      benefitof
                  thebenefit            participationininthe
                                 and/orparticipation      theprograms      activitiesoffered
                                                                       andactivities
                                                              programsand                     byDefendants
                                                                                      offeredby Defendantstoto

                 members ofthe
                 membersof      public,ininviolation
                            thepublic,      violationof              andits
                                                                 504and
                                                         Section504
                                                      ofSection          itsimplementing
                                                                             implementingregulations.
                                                                                          regulations.
 13
 14
           5.
           45.    Defendants'duties
                 Defendants'               Section504
                                     underSection
                              dutiesunder          504are mandatoryand
                                                       aremandatory     longrecognized.
                                                                    andlong             Defendantsare
                                                                             recognized.Defendants are

                 assumed           hadknowledge
                              havehad
                  assumedtotohave                   theirduties
                                                 oftheir
                                       knowledgeof                       relevanttimes
                                                                     allrelevant
                                                          dutiesatatall           timesherein_thir
                                                                                        herein, theirraulure
                                                                                                      failuretto
 15
 15
                  carryout
                 carry      theseduties
                        outthese             allegedherein
                                  dutiesasasalleged         waswillful
                                                     hereinwas          andknowing
                                                                willfuland          and/orthe
                                                                            knowingand/ar  theproduct  of
                                                                                               productof
 16
 16
                              andwillful
                  intentionaland
                 intentional      willfulindifference.
                                          indifference.
 17
           6.
           46.   Plaintiff  praysfor
                  Plaintiffprays      judgmentasasset
                                  forjudgment          forthbelow
                                                   setforth        Pursuanttoto29
                                                             belowPursuant         U.S.C.$ §794(a).
                                                                                29U.S.C.     794(a).
 18
 18
 19
 20                                            THIRDCAUSE
                                              THIRD  CAUSEOF
                                                           OFACTION
                                                              ACTION
 21
 21                        California           PersonsAct
                                       DisabledPersons
                            CaliforniaDisabled                            CivilCode
                                                               CaliforniaCivil
                                                        Act- -California        Code$ $5454

 22
 22                                    tatuto   IHama
                                        (Statutory damages
                                                       and andattarn
                                                               attorneys' feesonL.
                                                                     e'. des       )
                                                                               only)
 23
 23    I


       I

 24
 24        7.47. Each    the
                  Eachofof      foregoingparagraphs
                           theforegoing                                hereinbybyreference.
                                                          incorporatedherein
                                          paragraphsisisincorporated               reference.

2525       8.   TheDisabled
           48. The                   Act("CDPA")
                             PersonsAct
                    DisabledPersons                providesthat
                                          ("CDPA")provides         "[individualswnth
                                                             that"[i]ndivduals   withdisables
                                                                                       disabilities or         o
 26               medicalconditions
                 medical              havethe
                           conditionshave        samenight
                                            thesame               thegeneral
                                                       rightasasthe           publictotothe
                                                                      generalpublic            fulland
                                                                                          thefull        freeuse
                                                                                                    andfree          the
                                                                                                               useofof the
 27
 28
 28                                                       9
                          Verified
                           VerifiedComplaint
                                    ComplaintFor
                                               For Damagesand
                                                 Damages      Permanent
                                                            and         Injunctive
                                                                Permanent Injunctive Relief
                                                                                   R,_lief
               CaseCase
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                                         Document
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                                                  1 Filed
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  11   i                 streets, highways, sidewalks, walkways, public buildings, medical facilities, including
  22
                         hospitals, clinics, and physicians' offices, public facilities, and other public places..."
                         hospitals,                                                                       places ... "
  3
                         Cal.      Code §§ 54(a).
                              Civ. Code
                         Cal. Ci.          54(a).
 44
  55 49.
      49.                Described herein, Defendants'
                         Described herein,             acts and/or
                                           Defendants' acts                          the rights
                                                                             violate the
                                                                   omissions violate
                                                            and/or omissions             rights of Plaintiffunder
                                                                                                ofPlaintiff under

  66                      the CDP
                         the      A. Defendants
                              CDPA.             failed to
                                     Defendants failed     ensure that
                                                        to ensure        facilities constructed
                                                                   that facilities                 altered after
                                                                                                or altered
                                                                                    constructed or         after
  77
                         December 1981
                         December                  to the
                                         conformedto
                                   1981 conformed                                 in California
                                                                       contained in
                                                            standards contained
                                                       the standards                            Code OF
                                                                                     California @ode    Regulations,
                                                                                                     ofRegults,
  88
                         Title24
                         Title     amongstother
                               24,amongst        things as
                                           otherthings       allegedherein.
                                                         as alleged herein.
  9
 10
 10             0.
               50.       Defendants havealso
                         Defendantshave                the CDPA
                                              violatedthe
                                         alsoviolated           byviolating
                                                           CDPAby            theADA
                                                                   violatingthe       SeeCal.
                                                                                ADA._See Cal. C,,  Code,§
                                                                                              Civ. Code_S

 11
 11                       54(c).
 12
                    1.
                   51.    Defendants'duties
                         Defendants'         underthe
                                      dutiesunder      CDPAAare
                                                   theCDP       mandatoryand
                                                             aremandatory     longrecognized.
                                                                          andlong             Defendantsare
                                                                                   recognized.Defendants are
 13
 13
                         assumed      havehad
                          assumedtotohave  hadknowledge  ofther
                                               knowledgeof        dutiesatatall
                                                            theirduties          relevanttimes
                                                                             allrelevant        herein,their
                                                                                          timesherein,        failuretoto
                                                                                                        theirfailure
 14
 14
                          carryout
                         carry      theseduties
                                outthese             allegedherein
                                          dutiesasasalleged             willfuland
                                                                    waswillful
                                                             hereinwas          andknowing  and/orthe
                                                                                    knowingand/or      productof
                                                                                                   theproduct  of
 15
           I

 15
                          intentionaland
                         intentional      willfulindifference.
                                      andwillful  indifference.
 16
 16
1717               2.
                   52.   Plaintiff  praysfor
                          Plaintiffprays  forstatutory  damagesand
                                              statutorydamages  andattorney's  feesunder
                                                                    attorney'sfees                  Code$ $54.3(a),
                                                                                               Civ.Code
                                                                                          Cal.Civ.
                                                                                    underCal.               54.3(a),
 18
 18                       pursuanttotothe
                         pursuant                    procedures,and
                                           remedies,procedures,
                                       theremedies,                   rightssct
                                                                 andrights       forthininCal.
                                                                             sotforth                Codc$ &5+.3(a).
                                                                                                Civ.Codec
                                                                                           Cal.Ci·.          54.3(a).
 19
 19
 20
                         Note:         not
                          Note:Plaintiffs
                                Plaintiffis notseekin
                                                seeking  'unctive reli
                                                      gninjunctive     the
                                                                       efmnder
                                                                   relief          CDPA,nor
                                                                         under theCDP4   norinvokin section
                                                                                             invoking section55of
                                                                                                              55 of

 21
 21                      the              CivilCode.
                               CaliforniaCi»il
                           theCalifornia        Code.

 22                                                               PRAYER
 23
 23                      Plaintiff  praysthat
                          Plaintiffprays         thisCourt:
                                           thatthis   Court:
 24
                                 Issueananinjunction
                         1. I. Issue                   pursuanttotothe
                                            injunctionpursuant               andSection
                                                                         ADAand
                                                                     theADA              504,ordering
                                                                                 Section504,            Defendantsto:to:
                                                                                               orderingDefendants
 25
 26
 26

 27
 28            I
                                                                      10
                                                   .   -
                                   Verified
                                    VerifiedComplaint
                                             ComplaintFor
                                                       ForDamages
                                                           Damagesand Permanent
                                                                    and         Injunctive
                                                                        Permanent          Relief
                                                                                  Injunctive Relief
                        CaseCase
                             2:22-cv-01816-AB-JPR
                                 2:22-cv-01294 Document
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  1                                a.
                                   a. Take
                                      Take the requisite
                                               requisite steps in bringing the
                                                               in bringing the Bus Stop
                                                                                   Stop into compliance with
                                                                                        into compliance with applicable
                                                                                                             applicable
  2
                                       federal and
                                       federal and state
                                                   state accessibility standards and
                                                         accessibility standards and make
                                                                                     make 1tit fully and squally
                                                                                               fully and         available to
                                                                                                         equally available to
  3            I,
       I
                                       individuals
                                        individuals with mobility disabilities:,
                                                    with mobility disabilities;
  44   I




  55                               b. Modify their
                                   b. Modify  their respective  policies to
                                                     respective policies  to ensure  compliance with
                                                                              ensure compliance with new
                                                                                                     new construction
                                                                                                         construction and
                                                                                                                      and

  66                                  alteration
                                       alteration standards
                                                   standards and  program accessibility
                                                              and program  accessibility obligations.
                                                                                          obligations.
  77
                              Note:
                              Note: Plaintiffis
                                    Plaintiffis not    gminjunctive
                                                notseekin
                                                    seeking unctrve relie funder
                                                                     relief underthe
                                                                                  the CDPA   noriokin
                                                                                      CDPA,.nor        &section
                                                                                                invoking section55of
                                                                                                                 55of
                    I
  88
                              the
                               theCalifornia
                                  CaliforniaCivil
                                             CivilCode.
                                                  Code.
  9
 10
 10                           2.2.Award
                                  AwardPlaintiff
                                        Plaintiffgeneral,  compensatory,and
                                                  general,compensatory,  andstatutory  damagesininan
                                                                             statutorydamages      anamount
                                                                                                      amountwithin
                                                                                                            withinthe
                                                                                                                   the

 11                            jurisdictionof
                              jurisdiction  ofthis
                                               thisCourt;
                                                    Court;
 12                                                                      fees,ht
                              3.3.Award
                                   AwardPlaintiff
                                         Plaintiffreasonable  attorneys'fees,
                                                   reasonableattorneys'          g
                                                                                 i ation expenses,
                                                                               litigation expenses,and  costs,asasprovided
                                                                                                    andcosts       provided
 13
                               by law;
                               by law; and
                                       and
 14
 15                            4. Awardallallother
                               4Award               reliefasasthe
                                              otherrelief      theCourt  maydeem
                                                                   Courtmay  deemproper.
                                                                                  proper.

1616                    ated: 12/1/2021
                        Dated: 12/1/2021                              LAWOFFICES
                                                                     LAW  OFFICESOF
                                                                                  OFDAYTON
                                                                                     DAYTONMAGALLANES
                                                                                            MAGALLANES
 17

 18
 18
 19
                                                                             DD ' onMagallanes
                                                                                      Magallanes
                                                                              Attorney  forPlaintiff,
                                                                                            Plaintiff,
 20
 20             I                                                            Attorney for
                                                                              GabrielaCabrera
                                                                             Gabriela  Cabrera
 21
                        declare
                        I declareunder
                                  underpenalty
                                        penaltyofof
                                                  perjury
                                                    perjuryunder
                                                            underthe
                                                                   thelaws
                                                                        lawsofof
                                                                               California
                                                                                 Californiathat
                                                                                             thatthe
                                                                                                   theforego1g
                                                                                                        foregoing, istrue
                                                                                                                       truean"
                                                                                                                             and
 22



                                                                                     ft,
 22
                         rrect.

                                                                                        Chu
2323                    correct.

 24
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                        Dated:12/1/2021
                        ated:   12/1/2021
                                                                             oa»el.di±ee'ilea
                                                                            Gabrie�rera

 26
 26
 27
 28                                                                          11
                                                                             11                                   �
                                        Verified
                                       Verified             For
                                                          For
                                                  Complaint
                                                Complaint       Damages
                                                              Damages   and
                                                                      and   Permanent
                                                                          Permanent   Injunctive
                                                                                    Injunctive   Relief
                                                                                               Relief
         CaseCase
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                                                                      Reserved
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                                                                      Reserved for
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                                                                                                  #:16
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                                                                                           File Stamp
               SUPERIOR
               SUPERIOR COURT
                          COURT OF
                                 OF CALIFORNIA
                                    CALIFORNIA
    ''
                   COUNTY
                   COUNTY OF OF LOS
                                LOS ANGELES
                                    ANGELES
 COURTHOUSE
 COURTHOUSE ADDRESS:
            ADDRESS:                                                                                       FILED
                                                                                                           FILED
Pomona
Pomona Courthouse
         Courthouse South
                     South                                                                        Super»or Court
                                                                                                  Superor        ol Cailornia
                                                                                                           Court al California
                                                                                                    County of
                                                                                                    County    Los Angels
                                                                                                           of Los Angels
400
400 Civic
    Civic Center
          Center Plaza,
                 Plaza, Pomona,
                        Pomona, CA
                                CA 91766
                                   91766
                                                                                                        12/022021
                                                                                                        12/02/2021
                  NOTICE
                  NOTICE OF
                         OF CASE
                            CASE ASSIGNMENT
                                 ASSIGNMENT                                              3n
                                                                                         3en R
                                                                                             R Ca.Secs@c'Cea'CaJ°
                                                                                               Car@sexy@gc'Cea'Cas°
                                                                                           !y.           J.
                                                                                                         J. Gonzalez
                                                                                                            Gonzalez        De5.ty
                          UNLIMITED
                          UNLIMITED CIVIL
                                    CIVIL CASE
                                          CASE
                                                                                           !y.                     --

                                                                                   CASE
                                                                                   CASE NUMBER:
                                                                                        NUMBER:

 Your
 Your case
      case is assigned for
           is assigned for all purposes to
                           all purposes to the judicial officer
                                           the judicial officer indicated
                                                                indicated below.
                                                                          below.   21PSCV01003
                                                                                   21PSCV01003

                           THIS
                           THIS FORM
                                FORM IS
                                     IS TO
                                        TO BE
                                           BE SERVED
                                              SERVED WITH
                                                     WITH THE
                                                          THE SUMMONS
                                                              SUMMONS AND
                                                                      AND COMPLAINT
                                                                          COMPLAINT

               ASSIGNED
               ASSIGNED JUDGE
                        JUDGE               DEPT
                                            DEPT      ROOM
                                                      ROOM                   ASSIGNED
                                                                             ASSIGNED JUDGE
                                                                                      JUDGE                     DEPT
                                                                                                                DEPT      ROOM
                                                                                                                          ROOM
   V
   V     I Peter A. Hernandez
           Peter A. Hernandez              0
                                           0
                                                                      I




    Given
    Given to
          to the
             the Plaintiff/Cross-Complainant/Attorney
                 Plaintiff/Cross-Complainant/Attorney of
                                                      of Record
                                                         Record   Sherri R. Carter, Executive Officer/ Clerk of Court
     on
     on 12/02/2021
        12/02/2021                                                        By J.
                                                                             J. Gonzalez                                   ,, Deputy
                                                                                                                              Deputy Clerk
                                                                                                                                     Clerk
                 (Date)
                 (Date)
LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
         CaseCase
              2:22-cv-01816-AB-JPR
                  2:22-cv-01294 Document
                                   Document
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                                                                                ID #:17
                                                                                    ID #:54
                                      INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The
The following critical   provisions of
                critical provisions of the
                                       the Califomia
                                           Califomia Rules
                                                     Rules of
                                                           of Court,
                                                              Court, Title 3, Division
                                                                     Title 3,          7, as
                                                                              Division 7,    applicable in
                                                                                          as applicable in the
                                                                                                           the Superior
                                                                                                               Superior Court,
                                                                                                                        Court, are
                                                                                                                               are summarized
                                                                                                                                   summarized
for your assistance.
for your assistance.

APPLICATION
The
The Division
    Division 77 Rules
                Rules were
                      were effective January l,
                           effective January l, 2007.
                                                2007. They apply to
                                                      They apply    all general
                                                                 to all general civil
                                                                                civil cases.
                                                                                      cases.

PRIORITY OVER OTHER RULES
The
The Division
    Division 77 Rules
                Rules shall
                      shall have priority over
                            have priority over all
                                               all other
                                                   other Local
                                                         Local Rules
                                                               Rules to
                                                                     to the
                                                                        the extent
                                                                            extent the
                                                                                   the others
                                                                                       others arc
                                                                                              arc inconsistent.
                                                                                                  inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A  challenge under
A challenge    under Code
                       Code ofof Civil
                                 Civil Procedure
                                       Procedure Section
                                                  Section 170.6
                                                          170.6 must
                                                                must be
                                                                      be made
                                                                         made within
                                                                                within 15 days
                                                                                          days after
                                                                                               after notice
                                                                                                     notice of assignment for
                                                                                                            of assignment for all
                                                                                                                              all purposes
                                                                                                                                  purposes
to
to aa judge,
      judge, or
             or if
                if aa party
                      party has
                            has not
                                not yet
                                    yet appeared,
                                        appeared, within
                                                  within 15 days
                                                            days of
                                                                 of the
                                                                    the first
                                                                        first appearance.
                                                                              appearance.

TIME ST AND ARDS
Cases assigned to
Cases assigned to the
                  the Independent Calendaring Courts
                      Independent Calendaring Courts will
                                                     will be subject to
                                                          be subject    processing under
                                                                     to processing under the
                                                                                         the following
                                                                                             following time
                                                                                                       time standards:
                                                                                                            standards:

COMPLAINTS
All complaints shall
All complaints shall be
                     be served
                        served within
                               within 60 days of
                                      60 days    filing and
                                              of filing     proof of
                                                        and proof of service
                                                                     service shall
                                                                             shall be
                                                                                   be filed
                                                                                      filed within 90 days.
                                                                                            within 90 days.

CROSS-COMPLAINTS
Without
Without leave
        leave of
               of court
                   court first being obtained,
                         first being  obtained, no   cross-complaint may
                                                 no cross-complaint     may be
                                                                             be filed
                                                                                 filed by
                                                                                       by any   party after
                                                                                           any party  after their
                                                                                                            their answer
                                                                                                                  answer is is filed.
                                                                                                                               filed. Cross-
                                                                                                                                      Cross-
complaints shall
complaints shall be
                 be served
                    served within
                            within 30  days of
                                   30 days  of the filing date
                                               the filing date and
                                                               and aa proof
                                                                      proof of
                                                                            of service
                                                                               service filed
                                                                                       filed within
                                                                                             within 60 days of
                                                                                                    60 days  of the filing date.
                                                                                                                the filing date.

STATUS CONFERENCE
A
A status
    status conference
            conference will
                        will be
                             be scheduled  by the
                                scheduled by  the assigned   Independent Calendar
                                                   assigned Independent             Judge no
                                                                          Calendar Judge   no later
                                                                                               later than
                                                                                                     than 270  days after
                                                                                                          270 days   after the filing of
                                                                                                                           the filing  of the
                                                                                                                                          the
complaint. Counsel
complaint.     Counsel must
                        must be
                              be fully prepared to
                                 fully prepared to discuss
                                                    discuss the following issues:
                                                            the following issues: alternative dispute resolution,
                                                                                  alternative dispute  resolution. bifurcation,
                                                                                                                   bifurcation. settlement,
                                                                                                                                 settlement,
trial
trial date,
      date, and  expert witnesses.
             and expert witnesses.

FINAL STATUS CONFERENCE
The
The Court
      Court will  require the
             will require       parties to
                           the parties  to attend
                                             attend aa final
                                                       final status
                                                              status conference
                                                                      conference not
                                                                                   not more
                                                                                        more than
                                                                                              than 10   days before
                                                                                                     IO days  before the
                                                                                                                      the scheduled
                                                                                                                            scheduled trial
                                                                                                                                        trial date.
                                                                                                                                              date. All
                                                                                                                                                     All
parties shall
parties  shall have
               have motions
                     motions in in limine,
                                   limine, bifurcation
                                              bifurcation motions,
                                                           motions, statements
                                                                       statements ofof major  evidentiary issues,
                                                                                       major evidentiary             dispositive motions,
                                                                                                            issues, dispositive     motions, requested
                                                                                                                                              requested
form   jury instructions,
form jury   instructions, special   jury instructions,
                           special jury   instructions, and
                                                          and special    jury verdicts
                                                                special jury            timely filed
                                                                              verdicts timely   filed and
                                                                                                       and served   prior to
                                                                                                           served prior    to the
                                                                                                                               the conference.
                                                                                                                                    conference. These
                                                                                                                                                  These
matters   may be
matters may    be heard
                  heard and
                         and resolved
                              resolved atat this
                                             this conference.
                                                  conference. At     least five
                                                                 At least       days before
                                                                           five days  before this
                                                                                             this conference,
                                                                                                   conference, counsel
                                                                                                                 counsel must
                                                                                                                          must also
                                                                                                                                  also have
                                                                                                                                       have exchanged
                                                                                                                                             exchanged
lists
lists of
      of exhibits
         exhibits and
                  and witnesses,
                      witnesses, andand have
                                        have submitted
                                                 submitted toto the
                                                                the court
                                                                    court aa brief
                                                                             brief statement
                                                                                   statement of
                                                                                              of the
                                                                                                  the case
                                                                                                      case to
                                                                                                           to be
                                                                                                               be read
                                                                                                                  read to
                                                                                                                        to the
                                                                                                                            the jury  panel as
                                                                                                                                jury panel   as required
                                                                                                                                                required
by  Chapter Three
by Chapter   Three of
                    of the
                       the Los
                            Los Angeles     Superior Court
                                 Angeles Superior      Court Rules.
                                                               Rules.

SANCTIONS
The
The court
      court will
            will impose  appropriate sanctions
                 impose appropriate     sanctions forfor the
                                                         the failure
                                                              failure or
                                                                      or refusal
                                                                         refusal to  comply with
                                                                                 to comply        Chapter Three
                                                                                            with Chapter  Three Rules,
                                                                                                                 Rules, orders
                                                                                                                        orders made
                                                                                                                                made byby the
                                                                                                                                           the
Court,
Court, and
        and time
            time standards
                  standards or
                            or deadlines
                                deadlines established
                                             established byby the
                                                              the Court
                                                                   Court or by the
                                                                         or by      Chapter Three
                                                                               the Chapter  Three Rules.
                                                                                                  Rules. Such
                                                                                                          Such sanctions may be
                                                                                                               sanctions may   be on
                                                                                                                                  on aa party,
                                                                                                                                        party,
or
or if appropriate, on
   if appropriate, on counsel
                      counsel for
                               for aa party.
                                      party.

This
This is
     is not
        not aa complete
               complete delineation
                         delineation of
                                     of the
                                        the Division
                                            Division 77 or  Chapter Three
                                                        or Chapter  Three Rules,
                                                                          Rules, and
                                                                                 and adherence only to
                                                                                     adherence only to the
                                                                                                       the above provisions is
                                                                                                           above provisions is
therefore
therefore not
           not aa guarantee   against the
                  guarantee against       imposition of
                                      the imposition   of sanctions
                                                          sanctions under
                                                                    under Trial
                                                                          Trial Court Delay Reduction.
                                                                                Court Delay Reduction. Careful   reading and
                                                                                                         Careful reading  and
compliance with
compliance   with the
                   the actual Chapter Rules
                       actual Chapter  Rules is
                                             is imperative.
                                                imperative.

Class
Class Actions
      Actions
Pursuant
Pursuant to
         to Local
             Local Rule
                   Rule 2.3,
                         2.3, all
                              all class
                                  class actions
                                        actions shall
                                                shall be
                                                      be filed
                                                          filed at
                                                                at the   Stanley Mosk
                                                                    the Stanley  Mosk Courthouse
                                                                                        Courthouse and
                                                                                                     and arcarc randomly   assigned to
                                                                                                                randomly assigned    to aa complex
                                                                                                                                           complex
judge
judge at
      at the
         the designated
              designated complex
                          complex courthouse.
                                     courthouse. IfIf the
                                                      the case
                                                            case is
                                                                 is found
                                                                      found not
                                                                             not to
                                                                                 to be
                                                                                    be aa class
                                                                                          class action
                                                                                                action itit will
                                                                                                             will be
                                                                                                                  be returned
                                                                                                                     returned to
                                                                                                                               to an
                                                                                                                                  an Independent
                                                                                                                                      Independent
Calendar
Calendar Courtroom
          Courtroom for
                      for all
                          all purposes.
                              purposes.

*Provisionally     Complex Cases
*Provisionally Complex        Cases
Cases
Cases filed
       filed as
              as provisionally
                  provisionally complex
                                 complex are
                                           are initially   assigned to
                                                initially assigned   to the
                                                                         the Supervising  Judge of
                                                                              Supervising Judge  of complex   litigation for
                                                                                                    complex litigation     for determination
                                                                                                                                determination of  of
complex    status. If
complex status.     If the
                       the case
                            case is
                                 is deemed
                                    deemed toto be   complex within
                                                 be complex     within the  meaning of
                                                                       the meaning    of California
                                                                                         California Rules
                                                                                                    Rules of
                                                                                                           of Court
                                                                                                              Court 3.400
                                                                                                                       3.400 et   seq., itit will
                                                                                                                               et seq.,      will be
                                                                                                                                                  be
randomly
randomly assigned
            assigned to
                      to aa complex
                            complex judge
                                      judge at
                                             at the
                                                the designated    complex courthouse.
                                                     designated complex      courthouse. If
                                                                                          If the
                                                                                             the case
                                                                                                 case is
                                                                                                      is found
                                                                                                         found not
                                                                                                                not to
                                                                                                                     to be   complex, itit will
                                                                                                                         be complex,         will be
                                                                                                                                                  be
returned
returned to
          to an  Independent Calendar
             an Independent    Calendar Courtroom
                                         Courtroom for for all
                                                           all purposes.
                                                               purposes.




 LACIV 190 (Rev 6/18)           NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
 LASC Approved
      Approved 05/06
         CaseCase
              2:22-cv-01816-AB-JPR
                  2:22-cv-01294 Document
                                   Document
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                                            1 Filed
                                                 02/24/22
                                                     03/18/22
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                                                                      37of 80
                                                                           PagePage
                                                                                ID #:18
                                                                                    ID #:55
                              Court of
                     Superior Court of California,
                                       California, County
                                                   County of
                                                          of Los
                                                             Los Angeles
                                                                 Angeles



                             ALTERNATIVE DISPUTE
                             ALTERNATIVE DISPUTE RESOLUTION
                                                 RESOLUTION (ADR)
                                                            (ADR}
                                    INFORMATION PACKAGE
                                    INFORMATION   PACKAGE

 THE PLAINTIFF
 THE PLAINTIFF MUST
               MUST SERVE
                    SERVE THIS
                          THIS ADR
                               ADR INFORMATION
                                   INFORMATION PACKAGE
                                               PACKAGE ON
                                                       ON EACH
                                                          EACH PARTY
                                                               PARTY WITH
                                                                     WITH THE
                                                                          THE COMPLAINT.
                                                                              COMPLAINT.

 CROSS-COMPLAINANTS must
 CROSS-COMPLAINANTS      must serve
                              serve this
                                    this ADR
                                         ADR Information
                                             Information Package
                                                         Package on any new
                                                                 on any new parties
                                                                            parties named
                                                                                    named to
                                                                                          to the
                                                                                             the action
                                                                                                 action
 with the cross-complaint.




What is ADR?
ADR helps people find
ADR                find solutions
                        solutions to
                                   to their
                                      their legal
                                            legal disputes without going
                                                  disputes without  going to  to trial.
                                                                                 trial. The
                                                                                        The main
                                                                                            main types
                                                                                                   types of
                                                                                                         of ADR
                                                                                                            ADR are
                                                                                                                 are negotiation,
                                                                                                                     negotiation,
mediation, arbitration,
mediation, arbitration, and
                         and settlement
                              settlement conferences.
                                           conferences. When
                                                         When ADR
                                                                ADR is
                                                                     is done
                                                                          done byby phone,
                                                                                     phone, videoconference
                                                                                              videoconference oror computer,
                                                                                                                   computer, itit may
                                                                                                                                  may
be called
be called Online
          Online Dispute   Resolution (ODR).
                 Dispute Resolution     (ODR). These
                                               These alternatives
                                                      alternatives to
                                                                   to lliitigation
                                                                          tigation and
                                                                                     and trial
                                                                                         trial are
                                                                                               are described
                                                                                                   described below.
                                                                                                              below.

Advantages of ADR
    •    Saves Time: ADR is faster than going to trial.
    ••   Saves Money:
         Saves Money: Parties
                       Parties can
                                can save
                                    save on
                                         on court
                                             court costs,
                                                    costs, attorney's
                                                           attorney's fees,
                                                                      fees, and
                                                                            and witness
                                                                                witness fees.
                                                                                        fees.
    ••   Keeps Control
         Keeps Control (with
                       (with the
                              the parties):
                                  parties): Parties
                                            Parties choose
                                                     choose their
                                                             their ADR
                                                                   ADR process
                                                                        process and
                                                                                and provider
                                                                                    provider for
                                                                                              for voluntary
                                                                                                  voluntary ADR.
                                                                                                            ADR.
    ••   Reduces Stress/Protects
         Reduces Stress/Protects Privacy:
                                 Privacy: ADR
                                          ADR is
                                              is done
                                                 done outside
                                                      outside the
                                                              the courtroom,
                                                                  courtroom, in
                                                                             in private
                                                                                private offices,
                                                                                        offices, by
                                                                                                 by phone
                                                                                                    phone or
                                                                                                          or online.
                                                                                                             online.


Disadvantages of ADR
    ••   Costs: IIff the
         Costs:      the parties
                          parties do
                                  do not
                                     not resolve
                                         resolve their
                                                 their dispute,  they may
                                                       dispute, they    may have
                                                                             have to
                                                                                   to pay
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                                                                                           for ADR,
                                                                                               ADR, litigation,
                                                                                                      litigation, and
                                                                                                                  and trial.
                                                                                                                      trial.
    ••   No Public
         No Public Trial:
                       Trial: ADR
                              ADR does
                                   does not
                                        not provide
                                            provide aa public
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                                                              trial or
                                                                    or aa decision
                                                                          decision by
                                                                                   by aa judge
                                                                                         judge or
                                                                                                or jury.
                                                                                                   jury.

Main Types of ADR
    l.
    1.   Negotiation: Parties
         Negotiation: Parties often
                              often talk
                                     talk with
                                          with each
                                                 each other
                                                          other in
                                                                 in person,
                                                                    person, or
                                                                            or by
                                                                               by phone
                                                                                  phone or
                                                                                         or online
                                                                                            online about
                                                                                                    about resolving
                                                                                                           resolving their
                                                                                                                      their case
                                                                                                                            case with
                                                                                                                                 with aa
         settlement agreement
         settlement agreement instead
                                 instead of
                                          of aa trial.
                                                trial. IfIf the
                                                            the parties have lawyers,
                                                                parties have lawyers, they  will negotiate
                                                                                      they will             for their
                                                                                                 negotiate for  their clients.
                                                                                                                      clients.

    2.
    2.   Mediation: IIn
         Mediation:   n mediation,
                        mediation, aa neutral
                                      neutral mediator
                                               mediator lliistens
                                                            stens to
                                                                  to each
                                                                     each person's
                                                                           person's concerns,
                                                                                      concerns, helps     them evaluate
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         strengths and
         strengths and weaknesses
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                                        their case,
                                              case, and
                                                    and works
                                                         works with
                                                                  with them
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                                                                                 try to create aa settlement
                                                                                                   settlement agreement      that is
                                                                                                                agreement that     is
         acceptable to
         acceptable  to all.
                        all. Mediators
                             Mediators do
                                        do not
                                           not decide
                                                decide the
                                                       the outcome.
                                                              outcome. Parties
                                                                         Parties may
                                                                                  may go  to trial
                                                                                       go to trial if
                                                                                                    if they decide not
                                                                                                       they decide not to
                                                                                                                       to settle.
                                                                                                                           settle.

                  Mediation may
                  Mediation      be appropriate
                            may be  appropriate when
                                                  when the
                                                        the parties
                                                             parties
                     •• want
                         want to
                              to work
                                 work out
                                      out aa solution
                                             solution but
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                                                                      from aa neutral
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                  Mediation may
                  Mediation may not
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                                       appropriate when the parties
                                                            parties
                        ••    want aa public
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                        ••    lack
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                                                                         history of
                                                                                  of physical/emotional
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         •
                                    How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

             a. The Civil Mediation Vendor Resource List
                  If all parties in an active civil case agree to mediation, they may contact these organizations
                  to request a "Resource List Mediation" for mediation at reduced cost or no cost {for selected
                  cases).

                      •   ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                          (949) 863-9800
                      •   JAMS, Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310) 309-6209
                      •   Mediation Center of Los Angeles Program Manager info@mediationLA.org
                          (833) 476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

             b. Los Angeles County Dispute Resolution Programs
                  https://hrc.lacounty .gov/wp-content/uploads/2020/05/DRP_Fact-Sheet230ctober19-Current-as-of-October-2019-1.pdf
                  https://hrc. lacounty.gov /wp-content/ uploads/2020/05/DR P-Fact-Sheet-23Octoberl 9-Current-as-of-Octo ber2019-1.pdf


                  Day of trial mediation programs have been paused until further notice.

                  Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
                  should carefully review the Notice and other information they may receive about (ODR)
                                                                                                      {ODR)
                  requirements for their case.

             c.   Mediators and ADR and Barorganizationsthat provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator's decision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4.
      4. Mandatory SettlementConferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http:ijwww.lacourt.org/division/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/c10109.aspx
                                              http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htrn
                                                          http://www.courts.ca.gov/programs-adr.htm


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                                                                           GABRIELA CABRERA
                                                     Plaintiff/Petitioner: GABRIELA
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                                                Defendant/Respondent: CITY
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                      1         Dean Gazzo Roistacher LLP
                                Scott Noya, Esq. (SBN 137978)
                      2         440 Stevens Avenue, Suite 100
                                Solana Beach, CA 92075
                      3         Telephone: (858) 380-4683
                                Facsimile: (858) 492-0486
                      4         E-mail: snoya@deangazzo.com

                      5
                                Attorneys for Defendant
                      6         Foothill Transit
                                (erroneously sued as “Foothill Transit Agency”)                                                             Exempt from fees per
                      7                                                                                                                    Gov. Code Section 6103

                      8                                SUPERIOR COURT OF THE STATE OF CALIFORNIA

                      9                        COUNTY OF LOS ANGELES, POMONA COURTHOUSE SOUTH
                    10        GABRIELA CABRERA,                                                        Case No.: 21PSCV01003

                    11                               Plaintiff,                                        ANSWER OF DEFENDANT FOOTHILL
                                                                                                       TRANSIT TO PLAINTIFF’S VERIFIED
                    12                    v.                                                           COMPLAINT

                    13        CITY OF WEST COVINA, FOOTHILL
                              TRANSIT AGENCY, and DOES 1-10,                                           Dept:              O
                    14        INCLUSIVE,                                                               Judge:             Hon. Peter A. Hernandez

                    15                                                                                 Complaint Filed: December 2, 2021
                                                     Defendants.                                       Trial Date: None set
                    16

                    17                   Defendant Foothill Transit (“Defendant”) answers plaintiff’s Complaint (“Complaint”)
                    18        as follows:
                    19                                                                                1.
                    20                   1.          Answering Paragraph 1: Deny the allegations regarding the City of West Covina
                    21        as the location of the subject matter referred to in the complaint. Deny the allegations regarding
                    22        the Defendant Foothill Transit discriminating against plaintiff or any violation of state law. As
                    23        to the remaining allegations, Defendant lacks sufficient information or belief to admit or deny
                    24        and on that basis denies them.
                    25                   2.          Answering Paragraph 2: Defendant denies the subject bus stop is inaccessible,
                    26        and denies any obligation, or failure, to maintain the bus stop which is the right of way of another
                    27        public entity. As to the remaining allegations, Defendant lacks sufficient information or belief
                    28        to admit or deny and on that basis denies.
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  1          3.      Answering Paragraph 3: Defendant denies the subject bus stop is inaccessible,

  2   and denies any obligation, or failure, to maintain the bus stop which is the right of way of another

  3   public entity. As to the remaining allegations, Defendant lacks sufficient information or belief

  4   to admit or deny and on that basis denies.

  5          4.      Answering Paragraph 4: To the extent this paragraph contains factual allegations

  6   requiring an affirmative response, the allegations do not pertain to this Defendant and thus

  7   require no affirmative response by the Defendant. Defendant lacks sufficient information or

  8   belief to admit or deny and on that basis denies.

  9          5.      Answering Paragraph 5: Defendant lacks sufficient information or belief to admit
 10   or deny and on that basis denies.

 11          6.      Answering Paragraph 6: Defendant admits the identified agencies are public

 12   entities, but denies those entities have any connection to the subject of this action.

 13          7.      Answering Paragraph 7: To the extent this paragraph contains factual allegations

 14   requiring an affirmative response, the allegations do not pertain to this Defendant and thus

 15   require no affirmative response by the Defendant. Defendant lacks sufficient information or

 16   belief to admit or deny and on that basis denies.

 17          8.      Answering Paragraph 8: To the extent this paragraph contains factual allegations

 18   requiring an affirmative response, the allegations do not pertain to this Defendant and thus

 19   require no affirmative response by the Defendant. Defendant denies any other party is an agent

 20   for this answering Defendant. As to the remaining allegations, Defendant lacks sufficient

 21   information or belief to admit or deny and on that basis denies.

 22          9.      Answering Paragraph 9: To the extent this paragraph contains factual allegations

 23   requiring an affirmative response, the allegations do not pertain to this Defendant and thus

 24   require no affirmative response by the Defendant.

 25          10.     Answering Paragraphs 10-16: Defendant lacks sufficient information or belief to

 26   admit or deny and on that basis denies.
 27   ///

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  1             11.   Answering Paragraph 17: Defendant admits bus route 194 stops at Nogales Street

  2   and Valley Blvd. As to the remaining allegations, Defendant lacks sufficient information or

  3   belief to admit or deny and on that basis denies.

  4             12.   Answering Paragraph 18: Defendant admits City of Industry (not a named

  5   defendant) owns and controls the right of way where the referenced bus stop is located.

  6             13.   Answering Paragraph 19: Defendant denies that it owns and/or controls and/or

  7   exercises dominion over the bus stop and/or the right of way where the referenced bus stop is

  8   located.

  9             14.   Answering Paragraph 20-22: Defendant lacks sufficient information or belief to
 10   admit or deny and on that basis denies.

 11             15.   Answering Paragraph 23: As to the first sentence, Defendant lacks sufficient

 12   information or belief to admit or deny and on that basis denies. As to the remaining allegations,

 13   Defendant admits plaintiff filed an ADA complaint pursuant to the ADA law, but denies that

 14   plaintiff submitted a claim pursuant to the Government Claims Act.

 15             16.   Answering Paragraph 24: Defendant denies that it failed to guarantee equal

 16   access with respect to the bus stop, denies that it has responsibility as a fixed route bus service

 17   provider to guarantee accessibility of right of way owned by other public agencies, and as to the

 18   remaining allegations lacks sufficient information or belief to admit or deny and on that basis

 19   denies.

 20             17.   Answering Paragraphs 25-28: Defendant denies that it has responsibility as a

 21   fixed route bus service provider to guarantee accessibility of right of way owned by other public

 22   agencies, and as to the remaining allegations lacks sufficient information or belief to admit or

 23   deny and on that basis denies.

 24             18.   Answering Paragraph 29: Defendant denies that it has discriminated against

 25   plaintiff or committed any violation, and denies it has responsibility as a fixed route bus service

 26   provider to guarantee accessibility of right of way owned by other public agencies, and as to the
 27   remaining allegations lacks sufficient information or belief to admit or deny and on that basis

 28   denies.
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  1          19.     Answering Paragraph 30: Defendant lacks sufficient information or belief to

  2   admit or deny and on that basis denies.

  3          20.     Answering Paragraph 31: Defendant denies that plaintiff timely submitted a

  4   claim pursuant to the Government Claims Act, or that a timely claim was denied.

  5          21.     Answering Paragraph 32: To the extent this paragraph contains factual

  6   allegations requiring an affirmative response, the allegations do not pertain to this Defendant

  7   and thus require no affirmative response by the Defendant. Defendant lacks sufficient

  8   information or belief to admit or deny and on that basis denies.

  9          22.     Answering Paragraph 33: Admit.
 10          23.     Answering Paragraph 34: Admit answering defendant is a public entity; as to

 11   remaining allegations, deny that as a fixed route bus service provider that all sections of ADA

 12   apply to this answering defendant and on that basis denies.

 13          24.     Answering Paragraph 35: Admit fixed route bus service is available to the public

 14   but deny that this answering defendant owns and/or controls the bus stop.

 15          25.     Answering Paragraph 36: Defendant lacks sufficient information or belief to

 16   admit or deny and on that basis denies.

 17          26.     Answering Paragraph 37: Defendant lacks sufficient information or belief to

 18   admit or deny and on that basis denies.

 19          27.     Answering Paragraph 38: Admit the cited code sections provide legal regulations

 20   pertinent to ADA law. As to the remaining allegations Defendant lacks sufficient information

 21   or belief to admit or deny and on that basis denies.

 22          28.     Answering Paragraph 39: Defendant lacks sufficient information or belief to

 23   admit or deny the allegations as to other defendants and on that basis denies. As to this answering

 24   defendant, the allegations are denied.

 25          29.     Answering Paragraphs 40-41: To the extent this paragraph contains factual

 26   allegations requiring an affirmative response, the allegations do not pertain to this Defendant
 27   and thus require no affirmative response by the Defendant. Defendant lacks sufficient

 28   information or belief to admit or deny and on that basis denies.
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  1          30.     Answering Paragraph 42: Admit the cited code sections provide legal regulations

  2   pertinent to ADA law.

  3          31.     Answering Paragraph 43: Admit.

  4          32.     Answering Paragraphs 44-45: Defendant lacks sufficient information or belief to

  5   admit or deny the allegations as to other defendants and on that basis denies. As to this answering

  6   defendant, the allegations are denied

  7          33.     Answering Paragraph 46: To the extent this paragraph contains factual

  8   allegations requiring an affirmative response, the allegations do not pertain to this Defendant

  9   and thus require no affirmative response by the Defendant. Defendant lacks sufficient
 10   information or belief to admit or deny and on that basis denies.

 11          34.     Answering Paragraph 47: To the extent this paragraph contains factual

 12   allegations requiring an affirmative response, the allegations do not pertain to this Defendant

 13   and thus require no affirmative response by the Defendant. Defendant lacks sufficient

 14   information or belief to admit or deny and on that basis denies.

 15          35.     Answering Paragraph 48: Admit the cited code sections provide legal regulations

 16   pertinent to ADA law. As to the remaining allegations Defendant lacks sufficient information

 17   or belief to admit or deny and on that basis denies.

 18          36.     Answering Paragraph 49: Defendant lacks sufficient information or belief to

 19   admit or deny the allegations as to other defendants and on that basis denies. As to this answering

 20   defendant, the allegations are denied.

 21          37.     Answering Paragraphs 50-51: Defendant lacks sufficient information or belief to

 22   admit or deny the allegations as to other defendants and on that basis denies. As to this answering

 23   defendant, the allegations are denied.

 24          38.     Answering Paragraph 52: To the extent this paragraph contains factual

 25   allegations requiring an affirmative response, the allegations do not pertain to this Defendant

 26   and thus require no affirmative response by the Defendant. Defendant lacks sufficient
 27   information or belief to admit or deny and on that basis denies.

 28   ///
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                              Answer of Defendant Foothill Transit to Plaintiff’s Complaint
CaseCase
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  1                                                      2.

  2                                 FIRST AFFIRMATIVE DEFENSE

  3          Plaintiffs’ Complaint fails to state a claim upon which relief may be granted.

  4                               SECOND AFFIRMATIVE DEFENSE

  5          Answering defendant is informed and believes that if it is held responsible for the injuries

  6   and damages to plaintiffs, if any, plaintiffs were at fault and any award to plaintiffs must be

  7   reduced in proportion to the fault attributed to them.

  8                                THIRD AFFIRMATIVE DEFENSE

  9          Answering defendant is informed and believes that the damages suffered by plaintiff, if
 10   any, were the actual and proximate result of the acts and/or omissions of others over which this

 11   answering defendant exercises no control and answering defendant’s liability, if any, is limited

 12   in direct proposition to that percentage of fault actually attributed to answering defendant.

 13                               FOURTH AFFIRMATIVE DEFENSE

 14          Answering defendant is informed and believes that plaintiff is barred from pursuing

 15   money damages under certain state law causes of action based on the failure to comply with the

 16   claims requirements of the California Government Code.

 17                                 FIFTH AFFIRMATIVE DEFENSE

 18          Answering defendant is informed and believes that plaintiffs’ claims for damages are, in

 19   part, barred by the applicable statute of limitations.

 20                                 SIXTH AFFIRMATIVE DEFENSE

 21          Answering defendant is informed and believes that plaintiff failed to mitigate her

 22   damages, if any.

 23                              SEVENTH AFFIRMATIVE DEFENSE

 24          Answering defendant is informed and believes that it is not liable for any alleged

 25   inadequacy of the dimensions of the wheelchair landing area described in the plaintiff’s

 26   complaint. That is because this answering defendant has no control over the right of way or the
 27   public entity right of way owner’s construction specifications, and the complaint does not

 28   expressly allege this answering defendant has any such control or authority.
                                                      6
                             Answer of Defendant Foothill Transit to Plaintiff’s Complaint
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  1          See     below     excerpts      from      the       ADA      Standards:         https://www.access-

  2   board.gov/files/ada/ADA-Standards.pdf

  3          Figure 810.2.2 Dimensions of Bus Boarding and Alighting Areas:

  4
             Note to Reader: The Department of Transportation’s ADA standards indicate
  5          that compliance is required to the extent construction specifications are within
             a public entity’s control:
  6
             810.2.2 Dimensions. Bus boarding and alighting areas shall provide a clear
  7          length of 96 inches (2440 mm), measured perpendicular to the curb or vehicle
             roadway edge, and a clear width of 60 inches (1525 mm), measured parallel to
  8          the vehicle roadway. Public entities shall ensure that the construction of bus
             boarding and alighting areas comply with 810.2.2, to the extent the construction
  9          specifications are within their control.
 10          Because answering defendant lacks control over the public entity right of way owner’s

 11   construction specifications, this answering defendant is not required to comply with the

 12   standards of section 810.2.2, and no ADA violation can be stated against this answering for any

 13   alleged inadequacy of the wheelchair landing area which is under control of the City of Industry.

 14                               EIGHTH AFFIRMATIVE DEFENSE

 15          Answering defendant is informed and believes that it is immune from liability for state

 16   law claims under Government Code section 815.2, 818.2, 818.8, 820.2, 820.4, 820.8, 821, 821.6,

 17   822.2, and 845.8.

 18                                NINTH AFFIRMATIVE DEFENSE

 19          Answering defendant alleges that pursuant to Appendix E to Part 37 (reasonable

 20   modification), the Department of Transportation final rule provides stopping a bus a short

 21   distance from a bus stop sign to allow a wheelchair user to avoid an obstacle to boarding using

 22   a lift is reasonable and is not a violation of the ADA standards, and therefore this answering

 23   defendant is not liable in this matter and injunctive relief is unavailable.

 24                                TENTH AFFIRMATIVE DEFENSE

 25          Answering defendant alleges that plaintiffs’ rights, privileges, and immunities secured

 26   under the ADA Standards and/or laws of the United States, have not been violated by any alleged
 27   conduct of this answering defendant.

 28   ///
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                             Answer of Defendant Foothill Transit to Plaintiff’s Complaint
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  1                              ELEVENTH AFFIRMATIVE DEFENSE

  2           At the time and place referenced in the Complaint, and before such event, plaintiffs

  3   knew, appreciated and understood each and every risk involved in placing themselves in the

  4   position when they willingly and voluntarily assumed each of said risks, including, but not

  5   limited to, the risk of suffering deprivation of ADA right(s).

  6                               TWELFTH AFFIRMATIVE DEFENSE

  7           Answering defendant alleges that plaintiffs’ Complaint fails to state facts sufficient to

  8   set forth a claim for injunctive relief.

  9                            THIRTEENTH AFFIRMATIVE DEFENSE
 10           Answering defendant alleges that plaintiffs’ claims are barred by the equitable doctrines

 11   of estoppel, laches, and unclean hands.

 12                            FOURTEENTH AFFIRMATIVE DEFENSE

 13           Answering defendant currently has insufficient knowledge or information upon which

 14   to determine whether additional affirmative defenses may be available to it which has not yet

 15   been asserted in this answer, and therefore reserves the right to assert additional affirmative

 16   defenses upon subsequent discovery, investigation, and analysis.

 17           WHEREFORE, defendant prays as follows:

 18           1.      That plaintiff take nothing by her Complaint;

 19           2.      That defendant be awarded its costs of suit;

 20           3.      For such further relief as the court deems proper; and

 21           4.      That the sole liability of this defendant, if any, be limited in proportion to the

 22   degree of fault attributable to this answering defendant.

 23    Dated: February 24, 2022                                   Dean Gazzo Roistacher LLP

 24
                                                           By: /s/ Scott Noya
 25
                                                           Scott Noya
 26                                                        Attorneys for Defendant
                                                           Foothill Transit (erroneously sued as “Foothill
 27                                                        Transit Agency”)

 28
                                                            8
                              Answer of Defendant Foothill Transit to Plaintiff’s Complaint
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Electronically FILED by Superior Court of California, County of Los Angeles on 02/24/2022 03:34 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Gonzalez,Deputy Clerk



            ATTORNEY or party without attorney (Name, state bar number, and address):                                                      FOR COURT USE ONLY
            Dean Gazzo Roistacher LLP
            Scott Noya, Esq. (SBN 137978)
            440 Stevens Avenue, #100
            Solana Beach, CA 92075
            Telephone No. (858) 380-4683     Facsimile No. (858) 492-0486
            ATTORNEY FOR Defendant Foothill Transit
            SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
            Street Address:    400 Civic Center Plaza
            Mailing Address:   400 Civic Center Plaza
            City and Zip Code: Pomona, CA 91766
            Branch Name:       Pomona Courthouse South
            PLAINTIFF(S)/PETITIONER(S) Gabriela Cabrera                                                                                  CASE NUMBER:
                                                                                                                                         21PSCV01003
            DEFENDANT(S)/RESPONDENT(S)                                          City of West Covina, et al.
                                 PROOF OF SERVICE—CIVIL                                                                                  JUDGE:Peter A.
            Check method of service (only one):                                                                                          Hernandez
             By Personal Service  By Mail              By Messenger Service                                                           DEPT: O
             By Facsimile         By Overnight Delivery  By E-Mail/Electronic
            Transmission
                                                   (Do not use this Proof of Service to show service of a Summons and Complaint)

       1.          At the time of service I was over 18 years of age and not a party to this action.

       2.    My address is (specify one):
             a.  Business:                                       b.       Residence:

                     440 Stevens Avenue, Suite 100, Solana Beach, CA 92075

       3. The fax number or electronic address from which I served the documents is (complete if service was by fax or electronic service):
       jwelle@deangazzo.com

       4.    On February 24, 2022 I served the following documents (specify):

                   The documents are listed in the Attachment to Proof of Service–Civil (Documents Served).
       5.    I served the documents on the person or persons below, as follows:

             a.    Name of person served:

             b.     (Complete if service was by personal service, mail, overnight, or messenger service.)
                   Business or residential address where person was served:

             c.     (Complete if service was by fax or electronic service.)
                       (1) Fax number or electronic notification address where person was served:
                       (2) Time of Service:
                  The names, addresses, and other applicable information about the persons served is on the Attachment to Proof of Service—Civil
                      (Persons Served).

       6.    The documents were served by the following means (specify):

       a.         By personal service. I personally delivered the documents to the persons at the addresses listed in item 5. (1) For a party represented
                   by an attorney, delivery was made to the attorney or at the attorney's office by leaving the documents in an envelope or package
                   clearly labeled to identify the attorney being served with a receptionist or an individual in charge of the office, between the hours of
                   nine in the morning and five in the evening. (2) For a party, delivery was made to the party or by leaving the documents at the party's
                   residence with some person not less than 18 years of age between the hours of eight in the morning and six in the evening.
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                                                                                                        21PSCV01003

6.b.         By United States mail. I enclosed the documents in a sealed envelope or package addressed to the persons at the addresses in item 5
              and (specify one):

       (1)       deposited the sealed envelope with the United States Postal Service, with the postage fully prepaid.

       (2)       placed the envelope for collection and mailing, following our ordinary business practices. I am readily familiar with this business's
                  practice for collecting and processing correspondence for mailing. On the same day that correspondence is placed for collection
                  and mailing, it is deposited in the ordinary course of business with the United States Postal Service, in a sealed envelope with
                  postage fully prepaid.

I am a resident or employed in the county where the mailing occurred. The envelope or package was placed in the mail at (city and state):
Solana Beach, California

c.           By overnight delivery. I enclosed the documents in an envelope or package provided by an overnight delivery carrier and addressed
              to the persons at the addresses in item5. I placed the envelope or package for collection and overnight delivery at an office or a
              regularly utilized drop box of the overnight delivery carrier.

d.           By messenger service. I served the documents by placing them in an envelope or package addressed to the persons at the addresses
              listed in item 5 and providing them to a professional messenger service for service. (A declaration by the messenger must accompany
              this Proof of Service or be contained in the Declaration of Messenger below.)

e.           By fax transmission. Based on an agreement of the parties to accept service by fax transmission, I faxed the documents to the persons
              at the fax numbers listed in item 5. No error was reported by the fax machine that I used. A copy of the record of the fax transmission,
              which I printed out, is attached.

f.           By electronic service. Based on a court order or an agreement of the parties to accept service by e-mail or electronic transmission, I
              caused the documents to be sent to the persons at the e-mail addresses listed in item 5.

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date:         February 24, 2022



       Janie Welle                                                                   /s/ Janie Welle
(TYPE OR PRINT NAME OF DECLARANT)                                                 (SIGNATURE OF DECLARANT)



(If item 5d above is checked, the declaration below must be completed or a separate declaration from a messenger must be attached.)

DECLARATION OF MESSENGER

      By personal service. I personally delivered the envelope or package received from the declarant above to the persons at the addresses
       listed in item 4. (1) For a party represented by an attorney, delivery was made to the attorney or at the attorney's office by leaving the
       documents in an envelope or package, which was clearly labeled to identify the attorney being served, with a receptionist or an individual
       in charge of the office. (2) For a party, delivery was made to the party or by leaving the documents at the party's residence with some
       person not less than 18 years of age between the hours of eight in the morning and six in the evening.
At the time of service, I was over 18 years of age. I am not a party to the above-referenced legal proceeding.

I served the envelope or package, as stated above, on (date):
I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




(TYPE OR PRINT NAME OF DECLARANT)                                                 (SIGNATURE OF DECLARANT)




                                                 ATTACHMENT TO PROOF OF SERVICE—CIVIL
                                                             (Proof of Service)
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CASE NAME: Gabriela Cabrera v. City of West Covina, et al.                CASE NUMBER:
                                                                          21PSCV01003

             ATTACHMENT TO PROOF OF SERVICE - CIVIL (DOCUMENTS SERVED)

           The documents that were served are as follows (describe each document specifically):
ANSWER OF DEFENDANT FOOTHILL TRANSIT TO PLAINTIFF’S VERIFIED COMPLAINT




                               ATTACHMENT TO PROOF OF SERVICE—CIVIL
                                           (Proof of Service)
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              2:22-cv-01294 Document
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  CASE NAME: Gabriela Cabrera v. City of West Covina, et al.                            CASE NUMBER:
                                                                                        21PSCV01003

                   ATTACHMENT TO PROOF OF SERVICE - CIVIL (PERSONS SERVED)


Name, Address, and Other Applicable Information About Persons Served:


  Name of Person Served:                     Where Served:                                         Time of Service:
                                             (Provide business or residential address where        (Complete for service by fax
                                             service was made by personal service, mail,           transmission or electronic service.)
                                             overnight delivery, or messenger service. For other
                                             means of service, provide fax number or electronic
                                             notification address, as applicable.)

  Dayton Magallanes (Bar No. 240231)         Dayton Magallanes, Esq.
  Law Offices of Dayton Magallanes           Law Offices of Dayton
  Telephone: 310-779-2348                    Magallanes
  Email: DaytonMagallanes@Yahoo.com          15786 Sophomore Ct.
                                             Moorpark, CA 93 021
  Attorney for Plaintiff,
  Gabriela Cabrera                                                                                 Time:


                                                                                                   Time:


                                                                                                   Time:


                                                                                                   Time:


                                                                                                   Time:


                                                                                                   Time:


                                                                                                   Time:


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                                                                                                   Time:

                                ATTACHMENT TO PROOF OF SERVICE—CIVIL
                                            (Proof of Service)
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              EXHIBIT “E”
Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 76 of 80 Page ID #:76



 1    Dean Gazzo Roistacher LLP
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 3    Telephone: (858) 380-4683
      Facsimile: (858) 492-0486
 4    E-mail: snoya@deangazzo.com
 5
 6    Attorneys for Defendant
      Foothill Transit
 7    (erroneously sued as “Foothill Transit Agency”)
 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10    GABRIELA CABRERA,                        Case No.:
11                 Plaintiff,                  DECLARATION OF SCOTT NOYA
12          v.
13    CITY OF WEST COVINA,
      FOOTHILL TRANSIT AGENCY,
14    and DOES 1-10, INCLUSIVE,
15                 Defendants.
16
17       1. I, Scott Noya, declare:
18       2. I am Of Counsel with the law firm of Dean Gazzo Roistacher LLP, and am
19    an attorney for public agency Foothill Transit, named as a defendant in plaintiff’s
20    Verified Complaint.
21       3. The first date upon which defendant Foothill Transit received a copy of the
22    complaint was January 25, 2022.
23       4. The case was timely removed to federal court on February 24, 2022. The
24    filed notice of removal in Case No. 22-cv-01294 is attached as Exhibit “D” to the
25    concurrently filed Notice of Removal herein.
26       5. That case was terminated on March 2, 2022 for failing to respond to a
27    February 25, 2022 Notice of Deficiency regarding payment of a filing fee. See
28    ECF Doc. No. 3, Case No. 22-cv-01294.
                                               1
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 1       6. I did not receive the February 25, 2022 Notice of Deficiency. I also did not
 2    receive the March 2, 2022 notice terminating the civil case opening. It is possible
 3    the reason I did not receive those notices is due to an update to my email address
 4    associated with my ECF account, a change that was made shortly after filing the
 5    Notice of Removal.
 6       7. On March 15, 2022 I first learned of the March 2, 2022 notice terminating
 7    the civil case opening.
 8       8. I am informed and believe that on March 9, 2022 my assistant submitted
 9    payment of a filing fee, but later learned on March 15, 2022 that the case had been
10    terminated due to failure to respond to the February 25, 2022 Notice of Deficiency.
11    I am further informed and believe that my assistant submitted an inquiry to the
12    CM/ECF Helpdesk on March 15, 2022 stating we had attempted to file a case
13    (2:22-cv-01294) but that it apparently had been closed due to non-payment. The
14    inquiry noted old email addresses for my and my assistant’s ECF accounts had
15    been updated and asked how to reopen the case after the filing fee payment
16    submitted on March 9, 2022. The Helpdesk response on March 15, 2022 advised
17    the Court's notice (document #3), filed March 2, 2022, provided "No further filings
18    may be made under this case number, except, if applicable, to request a refund of
19    fees using a Form G-124, Application for Refund of Fees. Should you wish to
20    pursue this action, a new case must be filed and a new case number issued."
21       I declare under penalty of perjury that the foregoing is true and correct.
22    Executed on March 18, 2022
23                                    /s/ Scott Noya_______________________
                                      Scott Noya, declarant
24
25
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27
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               EXHIBIT “F”
Case 2:22-cv-01816-AB-JPR Document 1 Filed 03/18/22 Page 79 of 80 Page ID #:79



 1    Dean Gazzo Roistacher LLP
      Scott Noya, Esq. (SBN 137978)
 2    440 Stevens Avenue, Suite 100
      Solana Beach, CA 92075
 3    Telephone: (858) 380-4683
      Facsimile: (858) 492-0486
 4    E-mail: snoya@deangazzo.com
 5
 6    Attorneys for Defendant
      Foothill Transit
 7    (erroneously sued as “Foothill Transit Agency”)
 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10    GABRIELA CABRERA,                        Case No.:
11                 Plaintiff,
                                               DECLARATION OF JANIE WELLE
12           v.
13    CITY OF WEST COVINA,
      FOOTHILL TRANSIT AGENCY,
14    and DOES 1-10, INCLUSIVE,
15                 Defendants.
16
17           I, Janie Welle, declare:
18           1.     I am a legal assistant with the law firm of Dean Gazzo Roistacher
19    LLP.
20           2.    I assisted attorney Scott Noya in filing the Notice of Removal to
21    federal court on February 24, 2022 in Case No. 22-cv-01294.
22           3.    That case was terminated on March 2, 2022 for failing to respond to
23    a February 25, 2022 Notice of Deficiency regarding payment of a filing fee. See
24    ECF Doc. No. 3, Case No. 22-cv-01294.
25           4.    I did not receive the February 25, 2022 Notice of Deficiency. I also
26    did not receive the March 2, 2022 notice terminating the civil case opening. It is
27    possible the reason I did not receive those notices is due to an update to my email
28    ///
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 1    address associated with my ECF account, a change that was made shortly after
 2    filing the Notice of Removal.
 3          5.     On March 15, 2022 I first learned of the March 2, 2022 notice
 4    terminating the civil case opening.
 5          6.     On March 9, 2022 I submitted payment of a filing fee for the removed
 6    action. I later learned on March 15, 2022 that the case had been terminated due to
 7    failure to respond to the February 25, 2022 Notice of Deficiency. I submitted an
 8    inquiry to the CM/ECF Helpdesk on March 15, 2022 stating we had attempted to
 9    file a case (2:22-cv-01294) but that it apparently had been closed due to non-
10    payment. The inquiry noted old email addresses for my and Mr. Noya’s ECF
11    accounts had been updated and asked how to reopen the case after the filing fee
12    payment submitted on March 9, 2022. The Helpdesk response on March 15, 2022
13    advised the Court's notice (document #3), filed March 2, 2022, provided "No
14    further filings may be made under this case number, except, if applicable, to
15    request a refund of fees using a Form G-124, Application for Refund of Fees.
16    Should you wish to pursue this action, a new case must be filed and a new case
17    number issued."
18          I declare under penalty of perjury that the foregoing is true and correct.
19    Executed on March 18, 2022
20                                    __/s/ Janie Welle_________________________
                                      Janie Welle, declarant
21
22
23
24
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26
27
28
                                               2
